Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3231 Page 1 of 98



                      UNITED STATES DISTRICT COURT 
             WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION

JANE AMSU DOE, by next friend JOHN
AMSU DOE, JANE BMSU DOE, JANE CMSU
DOE, JANE DMSU DOE, JANE EMSU DOE,           Case No.: 1:17-cv-00029-GJQ-ESC
JANE FMSU DOE, JANE GMSU DOE, JANE
HMSU DOE, JANE IMSU DOE, JANE JMSU           Hon. Gordon J. Quist
DOE, JANE KMSU DOE, JANE LMSU DOE,
JOHN BMSU DOE, JOHN DMSU DOE,                Jane AMSU Doe, Jane BMSU Doe,
JOHN HMSU DOE, and JOHN IMSU DOE,            Jane CMSU Doe, Jane DMSU Doe,
                                             Jane EMSU Doe, Jane FMSU Doe,
                  Plaintiffs,                Jane GMSU Doe, Jane HMSU Doe,
                                             Jane IMSU Doe, Jane JMSU Doe, Jane
v                                            KMSU Doe, Jane LMSU Doe, John
                                             BMSU Doe, John DMSU Doe, John
MICHIGAN STATE UNIVERSITY; THE               HMSU Doe, and John IMSU Doe’s
BOARD OF TRUSTEES OF MICHIGAN
STATE UNIVERSITY; LAWRENCE                   FIRST AMENEDED Complaint and
GERARD NASSAR (individual and official       Jury Demand
capacity); KATHIE KLAGES (individual and
official capacity); WILLIAM D. STRAMPEL,     These Intervening Plaintiffs moved to
D.O. (individual and official capacity);     intervene in this action (Docket Nos.
JEFFREY R. KOVAN D.O. (individual and        14, 16, 21, 27, 31). Their motions were
official capacity); GARY E. STOLLAK          granted (Docket No. 39).           The
(individual and official capacity); USA      complaints        were     subsequently
GYMNASTICS, INC.; TWISTARS USA, INC.         accepted for filing (Docket Nos. 41,
d/b/a GEDDERTS’ TWISTARS                     43, 46, 50, 53).
GYMNASTICS CLUB USA, and JOHN
GEDDERT
______________________________________________________________________________
                  Defendants.




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Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3232 Page 2 of 98




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                                      2
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3233 Page 3 of 98




                                                      TABLE OF CONTENTS

FIRST AMENDED COMPLAINT AND JURY DEMAND .................................................... 1-98

I. PRELIMINARY STATEMENT AND INTRODUCTION ................................................... 6-12

II. JURISDICTION AND VENUE.......................................................................................... 12-13

III. PARTIES AND KEY INDIVIDUALS ............................................................................. 13-17

IV. COMMON FACTUAL ALLEGATIONS ......................................................................... 17-24

V. SPECIFIC FACTUAL ALLEGATIONS ........................................................................... 24-39

         A. Jane AMSU Doe ..................................................................................................... 24-26

         B. Jane BMSU Doe ...................................................................................................... 26-29

         C. Jane CMSU Doe ...................................................................................................... 29-30

         D. Jane DMSU Doe ..................................................................................................... 30-31

         E. Jane EMSU Doe ...................................................................................................... 31-32

         F. Jane FMSU Doe ....................................................................................................... 32-33

         G Jane GMSU Doe ...................................................................................................... 33-34

         H. Jane HMSU Doe ..................................................................................................... 34-35

         I. Jane IMSU Doe ........................................................................................................ 35-37

         J. Jane JMSU Doe ..............................................................................................................37

         K. Jane KMSU Doe ..................................................................................................... 37-38

         L. Jane LMSU Doe ...................................................................................................... 38-39

VI. CLAIMS AGAINST MICHIGAN STATE UNIVERSITY DEFENDANTS................... 39-68

         A. COUNT ONE – Violations of Title IX ................................................................... 39-43

         B. COUNT TWO – Violations of Civil Rights, 42 U.S.C. §1983 ............................... 43-47
                                                                   3
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3234 Page 4 of 98



        C. COUNT THREE – Violations of Elliot-Larsen Civil Rights Act ........................... 47-49

        D. COUNT FOUR – Failure to Train and Supervise, 42 U.S.C. §1983 ...................... 49-51

        E. COUNT FIVE – Gross Negligence ......................................................................... 51-53

        F. COUNT SIX– Negligence ....................................................................................... 53-55

        G. COUNT SEVEN– Vicarious Liability.................................................................... 55-56

        H. COUNT EIGHT – Express/Implied Agency .......................................................... 56-57

        I. COUNT NINE – Negligent Supervision .................................................................. 57-59

        J. COUNT TEN – Negligent Failure to Warn or Protect ............................................. 59-61

        K. COUNT ELEVEN– Negligent Failure to Train or Educate ................................... 61-62

        L. COUNT TWELEVE– Negligent Retention ............................................................ 62-63

        M. COUNT THIRTEEN - Intentional Infliction of Emotional Distress ..................... 63-65

        N. COUNT FOURTEEN – Fraud and Misrepresentation ........................................... 65-68

VII. CLAIMS AGAINST USA GYMNASTICS .................................................................... 68-80

        A. COUNT FIFTEEN – Gross Negligence ................................................................. 68-70

        B. COUNT SIXTEEN – Negligence ........................................................................... 70-71

        C. COUNT SEVENTEEN – Vicarious Liability ........................................................ 71-72

        D. COUNT EIGHTEEN – Express/Implied Agency ................................................. 72-73

        E. COUNT NINETEEN – Negligent Supervision ...................................................... 73-74

        F. COUNT TWENTY – Negligent Failure to Warn or Protect .................................. 74-76

        G. COUNT TWENTY-ONE – Negligent Failure to Train or Educate ...................... 76-77

        H. COUNT TWENTY-TWO – Negligent Retention .................................................. 77-78

        I. COUNT TWENTY-THREE – Intentional Infliction of Emotional Distress ........... 78-79

        J. COUNT TWENTY-FOUR - Fraud and Misrepresentation ..................................... 79-80
                                                             4
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3235 Page 5 of 98



VIII. CLAIMS AGAINST TWISTARS .................................................................................. 81-91

          A. COUNT TWENTY-FIVE – Gross Negligence ...................................................... 81-82

          B. COUNT TWENTY-SIX – Negligence .................................................................. 82-84

          C. COUNT TWENTY-SEVEN – Express/Implied Agency ...................................... 84-85

          D. COUNT TWENTY-EIGHT – Negligent Supervision ............................................ 85-86

          E. COUNT TWENTY-NINE – Negligent Failure to Warn or Protect ........................ 86-88

          F. COUNT THIRTY - Intentional Infliction of Emotional Distress .......................... 88-90

          G. COUNT THIRTY-ONE – Fraud and Misrepresentation ........................................ 90-91

IX. CLAIMS AGAINST NASSAR ......................................................................................... 91-94

          A. COUNT THIRTY-TWO – Assault and Battery ..................................................... 91-92

          B. COUNT THIRTY-THREE– Intentional Infliction of Emotional Distress ............. 92-93

          C. COUNT THIRTY-FOUR – Invasion of Privacy .................................................... 93-94

X. CLAIMS AGAINST ALL DEFENDANTS ....................................................................... 94-95

          A. COUNT THIRTY-FIVE – Loss of Consortium ..................................................... 94-95

XI. DAMAGES........................................................................................................................ 95-96

REQUEST FOR RELIEF ........................................................................................................ 96-97

JURY DEMAND ...........................................................................................................................98




                                                                   5
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3236 Page 6 of 98



                    FIRST AMENDED COMPLAINT AND JURY DEMAND

      NOW COME Plaintiffs, by and through their attorneys CHURCHWYBLE, P.C., a division

of GREWAL LAW, PLLC, and hereby allege and state as follows:

                    I. PRELIMINARY STATEMENT AND INTRODUCTION

1.    This is a civil action for declaratory, injunctive, equitable, and monetary relief for injuries

      sustained by Plaintiffs as a result of the acts, conduct, and omissions of Lawrence Nassar,

      D.O., Michigan State University (“MSU”), USA Gymnastics (“USAG”), and Twistars

      USA, Inc. (“Twistars”) and their respective employees, representatives, and agents,

      relating to sexual assault, abuse, molestation, and nonconsensual sexual touching and

      harassment by Defendant Nassar against Plaintiffs, all female, many of whom were minors

      when the sexual assaults took place. Unless otherwise specified, the terms “Plaintiff” or

      “Plaintiffs” refer to the female patients of Defendant Nassar. John BMSU Doe, John

      DMSU Doe, John HMSU Doe, and John IMSU Doe are alleging derivative Loss of

      Consortium claims addressed in Count Thirty-Five.

2.    Most Plaintiffs are or were young athletes participating in youth sports, including

      swimming and dancing. Jane JMSU Doe was in her 30s seeking treatment for a knee

      complaint.

3.    Defendant Nassar came highly recommended to Plaintiffs as a renowned orthopedic sports

      medicine physician, purportedly well-respected in the sports medicine community,

      specifically in the gymnastics community as the Team Physician for the United States

      Gymnastics team.

4.    Plaintiffs and their parents had no reason to suspect Defendant Nassar was anything other

      than a competent and ethical physician.



                                                6
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3237 Page 7 of 98



5.    From approximately 1996 to 2016 Defendant Nassar worked for Michigan State University

      in various positions and capacities.

6.    From 1986 to approximately 2015 Defendant Nassar also worked for USA Gymnastics in

      various positions and capacities.

7.    For over 20 years, Defendant Nassar had unfettered access to young female athletes

      through the Sports Medicine Clinic at MSU, and through his involvement with USAG and

      Twistars, who referred athletes to his care.

8.    To gain Plaintiffs’ trust, at appointments, Defendant Nassar would give some Plaintiffs

      gifts such as t-shirts, pins, flags, leotards, and other items, some with USAG logos and

      others without.

9.    Between 1996 and 2016, under the guise of treatment, Defendant Nassar sexually

      assaulted, abused, and molested Plaintiffs, many of whom were minors during at least some

      portion of this time, by nonconsensual vaginal and anal digital penetration or by rubbing

      their breasts, and without the use of gloves or lubricant.

10.   Plaintiffs were seeking treatment for various pain and functional complaints, such as back

      pain, neck pain, shoulder pain, knee pain, hip pain, and other similar injuries and

      conditions.

11.   In 1997 or 1998, an athlete reported to MSU gymnastics coach Kathie Klages concerns

      regarding Defendant Nassar’s conduct and “treatment,” but Defendant Klages dissuaded

      the athlete from completing a formal report by warning the athlete the report would have

      serious consequences for her (the athlete) and Nassar.

12.   As a result of Defendant Klages being informed about Nassar’s conduct, at least one other

      athlete was asked by Klages if Nassar had performed the “procedure” involving digital



                                                7
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3238 Page 8 of 98



      vaginal and anal penetration on her (the athlete), and the athlete responded in the

      affirmative. Defendant Klages told the athlete that there is no reason to bring up Nassar’s

      conduct.

13.   In 1999, a MSU student athlete reported to trainers and her coach who were employees of

      MSU concerns about Defendant Nassar’s conduct and “treatment,” yet MSU failed to take

      any action in response to her complaints.

14.   In 2000, another MSU student athlete reported to trainers concerns about Defendant

      Nassar’s conduct and “treatment,” yet again MSU failed to take any action in response to

      her complaints.

15.   Many Plaintiffs were seen alone with only the individual Plaintiff and Defendant Nassar in

      the room, without chaperones.

16.   At other times, Defendant Nassar would position himself in a manner in which parents or

      chaperones in the room could not see his conduct.

17.   Because MSU took no action to investigate the 1997 or 1998, 1999, and 2000 complaints

      and took no corrective action, from 2000 to 2016, under the guise of treatment, several of

      the Plaintiffs were sexually assaulted, abused, and molested by Defendant Nassar by

      nonconsensual vaginal and anal digital penetration, nonconsensual sexual touching of the

      vaginal area without the use of gloves or lubricant and by nonconsensual touching and

      groping of their breasts.

18.   Additional complaints regarding Defendant Nassar’s conduct surfaced in 2014. A victim

      reported she had an appointment with Defendant Nassar to address hip pain and was




                                               8
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3239 Page 9 of 98



       sexually abused and molested by Defendant Nassar when he cupped her buttocks,

       massaged her breast and vaginal area, and became sexually aroused.1

19.    Upon information and belief, Defendant MSU investigated the 2014 complaints through

       their Office of Institutional Equity, and although the victim reported to Defendant MSU

       certain facts, some were omitted from the investigative report including but not limited to

       the following:

              a. Defendant Nassar was sexually aroused while touching her;

              b. The appointment with Defendant Nassar did not end until she physically removed

                        his hands from her body.

20.    Three months after initiating the investigation, in July 2014, the victim’s complaints were

       dismissed and Defendant MSU determined she didn’t understand the “nuanced difference”

       between sexual assault and an appropriate medical procedure and deemed Defendant

       Nassar’s conduct “medically appropriate” and “Not of a sexual nature.”2

21.    Following the investigation, upon information and belief Defendant Nassar became subject

       to new institutional guidelines, one of which – it is believed – was that Defendant Nassar

       was not to examine or treat patients alone.3

22.    Defendant Nassar continued to treat patients alone.

23.    Following the investigation, between approximately 2014 and 2016, additional girls and

       young women were sexually assaulted by Defendant Nassar.




1
  See, At MSU: Assault, harassment and secrecy. Matt Mencarini, December 15, 2016. Available
at, http://www.lansingstatejournal.com/story/news/local/2016/12/15/michigan-state-sexual-
assault-harassment-larry-nassar/94993582/. (Last accessed January 5, 2017.)
2
  Id.
3
  Id.
                                                   9
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3240 Page 10 of 98



24.   Through his position with MSU, his notoriety, and support by USAG and Twistars,

      Defendant Nassar used his position of authority as a medical professional to abuse

      Plaintiffs without any reasonable supervision by MSU or USAG.

25.   Defendant Nassar carried out these acts without fully explaining the “treatment” or

      obtaining consent of Plaintiffs or their parents.

26.   All of Defendant Nassar’s acts were conducted under the guise of providing medical care

      at his office at Michigan State University or at Twistars.

27.   The failure to give proper notice or to obtain consent for the purported “treatment” from

      Plaintiffs or their parents robbed them of the opportunity to reject the “treatment.”

28.   Defendant Nassar used his position of trust and confidence in an abusive manner causing

      Plaintiffs to suffer a variety of injuries including shock, humiliation, emotional distress and

      related physical manifestations thereof, embarrassment, loss of self-esteem, disgrace, and

      loss of enjoyment of life.

29.   In September 2016, a story was published regarding a complaint filed with Defendant

      MSU’s Police Department titled “Former USA Gymnastics doctor accused of Abuse,”

      which included Plaintiff Denhollander’s allegations against Defendant Nassar.

30.   Following the September 2016 publication, other victims began coming forward after

      recognizing that they were victims of sexual abuse at a time when most of them were

      minors.

31.   Plaintiffs have been forced to relive the trauma of the sexual assaults.

32.   In summer 2015, USAG relieved Defendant Nassar of his duties after becoming aware of

      concerns about his actions, yet USAG failed to inform Michigan State University of the

      circumstances regarding his dismissal.



                                                10
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3241 Page 11 of 98



33.      As early as 1997, representatives of Michigan State University were made aware of

         Defendant Nassar’s conduct, yet failed to appropriately respond to allegations, resulting in

         the sexual assault, abuse, and molestation of Plaintiffs through approximately 2016.

34.      Michigan State University’s deliberate indifference before, during, and after the sexual

         assault, abuse, and molestation of Plaintiffs was in violation of Title IX of the Education

         Amendments of 1972, 20 U.S.C. §1681 et seq., 42 U.S. C. §1983, as well as other Federal

         and State laws.

35.      MSU and USAG’s failure to properly supervise Defendant Nassar and their negligence in

         retaining Defendant Nassar was in violation of Michigan common law.

36.      In late November 2016, Defendant Nassar was arrested and charged in Ingham County,

         Michigan on three charges of first-degree criminal sexual conduct with a person under 13.4

         The case has been bound over to circuit court. Twenty-two additional counts were recently

         added.

37.      In mid-December 2016, Defendant Nassar was indicted, arrested, and charged in Federal

         Court in Grand Rapids, Michigan on charges of possession of child pornography and

         receipt/attempted receipt of child pornography.

38.      The acts, conduct, and omissions of Defendants Michigan State University, USA

         Gymnastics, and Twistars, and their policies, customs, and practices with respect to

         investigating sexual assault allegations severely compromised the safety and health of

         Plaintiffs and an unknown number of individuals, and have resulted in repeated instances

         of sexual assault, abuse, and molestation of Plaintiffs by Defendant Nassar, which has been

         devastating for Plaintiffs and their families.



4
    State of Michigan, Ingham County Circuit Court Case No. 1603031.
                                                   11
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3242 Page 12 of 98



39.   This action arises from Defendants’ blatant disregard for Plaintiffs’ federal and state rights,

      and Defendants’ deliberately indifferent and unreasonable response to physician-on-

      patient/physician-on-student sexual assault, abuse, and molestation.

                              II. JURISDICTION AND VENUE

40.   This action is brought pursuant to Title IX of the Educational Amendments of 1972, 20

      U.S.C. §1681, et seq., as more fully set forth herein.

41.   This is also an action to redress the deprivation of Plaintiffs’ constitutional rights under the

      Fourteenth Amendment of the United States Constitution pursuant to 42 U.S.C. §1983.

42.   Subject matter jurisdiction is founded upon 28 U.S.C. §1331 which gives district courts

      jurisdiction over all civil actions arising under the Constitution, laws, and treaties of the

      United States.

43.   Subject matter jurisdiction is also founded upon 28 U.S.C. §1343 which gives district

      courts original jurisdiction over any civil actions authorized by law to be brought by any

      person to redress the deprivation, under color of any State Law, statute, ordinance,

      regulation, custom or usage, of any right, privilege or immunity secured by the Constitution

      of the United States or by any Act of Congress providing for equal rights of citizens or of

      all persons within the jurisdiction of the United States, and any civil action to recover

      damages or to secure equitable relief under any Act of Congress providing for the

      protection of civil rights.

44.   Plaintiffs further invoke the supplemental jurisdiction of this Court, pursuant to 28 U.S.C.

      § 1367(a) to hear and decide claims arising under state law that are so related to the claims

      within the original jurisdiction of this Court that they form part of the same case or

      controversy.



                                                12
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3243 Page 13 of 98



45.    The claims are cognizable under the United States Constitution, 42 U.S.C. §1983, 20

       U.S.C. §1681 et seq., and under Michigan Law.

46.    The events giving rise to this lawsuit occurred in Ingham County, Michigan which sits in

       the Southern Division of the Western District of Michigan.

47.    Venue is proper in the United States District Court for the Western District of Michigan,

       pursuant to 28 U.S.C. § 1391 (b)(2), in that this is the judicial district in which the events

       giving rise to the claim occurred.

                           III. PARTIES AND KEY INDIVIDUALS

48.    Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

49.    The names of the Plaintiffs have been withheld from this Complaint to protect their

       identities as many of the Plaintiffs were minor children at the time the sexual abuse

       occurred and the allegations involve injuries of a personal and sensitive nature.5

50.    Plaintiff Jane AMSU Doe is a minor female and is a resident of Michigan. She brings this

       action by John AMSU Doe, also a resident of Michigan. A corresponding petition seeking

       formal appointment of next friend will be filed.

51.    Plaintiff Jane BMSU Doe is a married female and is a resident of Michigan. She was a

       minor for at least a portion of the time she was sexually assaulted, abused, and molested

       by Defendant Nassar. She is married to John BMSU Doe.




5
 Plaintiffs will seek an Order of the Court regarding disclosure of Plaintiffs’ identities and all
conditions for disclosure.
                                                 13
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3244 Page 14 of 98



52.   Plaintiff Jane CMSU Doe is an adult female and is a resident of Michigan. She was a minor

      for at least a portion of the time she was sexually assaulted, abused, and molested by

      Defendant Nassar.

53.   Plaintiff Jane DMSU Doe is an adult female and is a resident of Michigan. She was a

      minor for at least a portion of the time she was sexually assaulted, abused, and molested

      by Defendant Nassar. She is married to John DMSU Doe.

54.   Plaintiff Jane EMSU Doe is an adult female and is a resident of Michigan. She was a minor

      for at least a portion of the time she was sexually assaulted, abused, and molested by

      Defendant Nassar.

55.   Plaintiff Jane FMSU Doe is an adult female and is a resident of Michigan.

56.   Plaintiff Jane GMSU Doe is an adult female and is a resident of Michigan. She was a

      minor for at least a portion of the time she was sexually assaulted, abused, and molested

      by Defendant Nassar.

57.   Plaintiff Jane HMSU Doe is an adult female and is a resident of Michigan. She was a

      minor for at least a portion of the time she was sexually assaulted, abused, and molested

      by Defendant Nassar.

58.   Plaintiff Jane IMSU Doe is an adult female and is a resident of Michigan. She was a minor

      for at least a portion of the time she was sexually assaulted, abused, and molested by

      Defendant Nassar. She is married to John IMSU Doe.

59.   Plaintiff Jane JMSU Doe is an adult female and is a resident of Michigan.

60.   Plaintiff Jane KMSU Doe is a female and is a resident of Michigan.




                                             14
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3245 Page 15 of 98



61.   Plaintiff Jane LMSU Doe is a female and is a resident of Illinois. She was a minor for at

      least a portion of the times she was sexually assaulted, abused, and molested by Defendant

      Nassar.

62.   Defendant Lawrence “Larry” Nassar, is a Doctor of Osteopathic Medicine, and is a resident

      of Michigan.

63.   Defendant Michigan State University (hereinafter, “Defendant MSU”) was at all relevant

      times and continues to be a public university organized and existing under the laws of the

      state of Michigan.

64.   Defendant Michigan State University receives federal financial assistance and is therefore

      subject to Title IX of the Educational Amendments of 1972, 20 U.S.C. §1681(a).

65.   Defendant The Board of Trustees of Michigan State University (hereinafter, “Defendant

      MSU Trustees”) is the governing body for Michigan State University.

66.   Defendant MSU and Defendant MSU Trustees are hereinafter collectively referred to as

      the MSU Defendants.

67.   Lou Anna K. Simon is the current President of Defendant MSU, appointed in

      approximately January 2005. Prior to her appointment as President, Ms. Simon held several

      administrative roles including assistant provost for general academic administration,

      associate provost, and provost and vice president for academic affairs during her career

      with MSU.

68.   M. Peter McPherson is the immediate Past President of Defendant MSU, and served as

      President from approximately 1993 – 2004.




                                              15
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3246 Page 16 of 98



69.   Defendant William D. Strampel, D.O. is the Dean of the College of Osteopathic Medicine

      at Michigan State University serving as Dean since approximately April 2002 and as

      Acting Dean between December 2001 and April 2002.

70.   Defendant Jeffrey R. Kovan, D.O. is or was the Director of Division of Sports Medicine at

      Michigan State University.

71.   Defendant Kathie Klages was the head coach of the Michigan State University Gymnastics

      Program until her suspension and resignation in early 2017; she also conducted gymnastics

      classes and programs for children and young adults not on the varsity gymnastics team.

72.   Defendant Gary E. Stollak was a professor in the clinical program within the Michigan

      State University Department of Psychology.

73.   Defendant United States of America Gymnastics (hereinafter “Defendant USAG”) was and

      continues to be an organization incorporated in Indiana, authorized to conduct business and

      conducting business throughout the United States, including but not limited to Michigan.

74.   Steve Penny is the current president of Defendant USAG, named in approximately April

      2005, who is currently responsible for the overall management and strategic planning of

      Defendant USAG.

75.   Robert Colarossi is the past president of Defendant USAG and held the position from

      approximately 1998 to 2005, and during that time was responsible for the overall

      management and strategic planning of Defendant USAG.

76.   Defendant Twistars USA, Inc. d/b/a Geddert’s Twistars Gymnastics Club USA

      (hereinafter, “Defendant Twistars”) was and continues to be an organization incorporated

      in Michigan.




                                              16
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3247 Page 17 of 98



77.   Defendant John Geddert is the owner and operator of Twistars USA, Inc. d/b/a Geddert’s

      Twistars Gymnastics Club USA.

                        IV. COMMON FACTUAL ALLEGATIONS

78.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

      paragraphs.

79.   At all relevant times, Defendant Nassar maintained an office at MSU in East Lansing,

      Michigan.

80.   At all relevant times, Defendants MSU, MSU Trustees, and Nassar were acting under color

      of law, to wit, under color of statutes, ordinances, regulations, policies, customs, and usages

      of the State of Michigan and/or Defendant Michigan State University.

81.   At all relevant times, including the years 1996 to 2016, Defendant Nassar was acting in the

      scope of his employment or agency with Defendant MSU.

82.   At all relevant times, including the years 1996 to 2015, Defendant Nassar was acting in the

      scope of his employment or agency with Defendant USAG.

83.   At all relevant times, including the years 1996 to 2016, Defendant Nassar was acting in the

      scope of his agency with Defendant Twistars.

84.   Defendant Nassar graduated from Michigan State University with a Doctor of Osteopathic

      Medicine degree in approximately 1993.

85.   Defendant Nassar was employed by and/or an agent of Defendant USAG from

      approximately 1986 to 2015, serving in various positions including but not limited to:

             a. Certified Athletic Trainer;

             b. Osteopathic Physician;

             c. National Medical Director;



                                                17
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3248 Page 18 of 98



              d. National Team Physician, USA Gymnastics;

              e. National Team Physician, USA Gymnastics Women’s Artistic Gymnastics

                     National Team.

86.   Defendant Nassar was employed by Defendant MSU from approximately 1996 to 2016 in

      various positions including but not limited to:

              a. Associate Professor, Defendant MSU’s Division of Sports Medicine, Department

                     of Radiology, College of Osteopathic Medicine;

              b. Team Physician, Defendant MSU’s Men’s and Women’s Gymnastics Team;

              c. Team Physician, Defendant MSU’s Men’s and Women’s Track and Field Teams;

              d. Team Physician, Defendant MSU’s Men’s and Women’s Crew Team;

              e. Team Physician, Defendant MSU’s Intercollegiate Athletics;

              f. Medical Consultant, Defendant MSU’s Wharton Center for the Performing Arts;

              g. Advisor, Student Osteopathic Association of Sports Medicine.

87.   Defendant Twistars is a gymnastics facility with which Defendant Nassar affiliated from

      its inception in or around 1996.

88.   Defendant John Geddert, owner and operator of Twistars USA, Inc. d/b/a Geddert’s

      Twistars Gymnastics Club USA served as the USA World and Olympic Women’s

      Gymnastics Team Head Coach.

89.   Defendant Geddert regularly recommended Defendant Nassar to members of Defendant

      Twistars as a reputable physician.

90.   For a period of time, Defendant Twistars displayed a photo of Defendant Nassar at its

      facility.




                                               18
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3249 Page 19 of 98



91.    As an agent of Defendant Twistars, Defendant Nassar regularly provided services and

      treatment to Defendant Twistars’ members and Defendant USAG’s members on Defendant

      Twistars’ premises.

92.   As a physician of Osteopathic Medicine, Defendant Nassar’s medical care and treatment

      should have consisted largely of osteopathic adjustments and kinesiology treatment to

      patients, including students and student-athletes of Defendant MSU.

93.   Defendant Nassar is not and has never been a medical doctor of obstetrics or gynecology.

94.   While employed by Defendants MSU and USAG, Defendant Nassar practiced medicine at

      Defendant MSU’s Sports Medicine Clinic, a facility at MSU.

95.   During his employment, agency, and representation with the MSU Defendants, Defendant

      USAG, and Defendant Twistars, Defendant Nassar sexually assaulted, abused, and

      molested Plaintiffs by engaging in nonconsensual sexual touching, assault, and harassment

      including but not limited to digital vaginal and anal penetration.

96.   The State of Michigan’s Department of Licensing and Regulatory Affairs Occupational

      Health Standards regarding Bloodborne Infectious Diseases mandates use of gloves when

      exposed to potentially infectious material, including vaginal secretions.6

97.   In 1997 or 1998, a female gymnastics participant, who was a minor at the time, told MSU

      gymnastics head coach Kathie Klages about concerns the participant had with Nassar’s

      “treatment.” Defendant Klages convinced the participant not to file a formal complaint

      because Klages intimidated the participant by stating there would be serious consequences

      to her (the participant) and Nassar.



6
 See, Michigan Administrative Code, R. 325.70001, et seq., Available at
http://www.michigan.gov/documents/CIS_WSH_part554_35632_7.pdf. Last accessed, January
5, 2017.
                                               19
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3250 Page 20 of 98



98.    As a result of Klages being informed about Nassar’s conduct, at least one other athlete was

       asked by Klages if Nassar had performed the “procedure” involving digital vaginal and

       anal penetration on her (the athlete), and the athlete responded in the affirmative. Klages

       told the athlete that there is no reason to bring up Nassar’s conduct.

99.    In or around 1998, a parent of a gymnast at Defendant Twistars’ facility complained to

       Defendant Geddert regarding Dr. Nassar’s conduct, yet the concerns and allegations went

       unaddressed.

100.   In or around 1999 the MSU Defendants were also put on notice of Defendant Nassar’s

       conduct by a MSU student athlete after she complained to MSU employees, including

       trainers and her head coach, that Defendant Nassar touched her vaginal area although she

       was seeking treatment for an injured hamstring.

101.   Despite her complaints to MSU representatives, the athlete’s concerns and allegations went

       unaddressed.

102.   In approximately 2000, a female student athlete, a member of Defendant MSU’s Women’s

       Softball Team, was sexually assaulted and abused during “treatment” by Defendant Nassar

       and reported Defendant Nassar’s conduct to Defendant MSU’s employees, including

       trainers.

103.   Despite her complaints to MSU employees, agents, and representatives, the athlete’s

       concerns and allegations went unaddressed in violation of reporting policies and

       procedures and Title IX and in a manner that was reckless, deliberately indifferent, and

       grossly negligent.

104.   Because MSU took no action to investigate the 1997 or 1998, 1999, and 2000 complaints

       and took no corrective action, from 2000 to 2016, under the guise of treatment, several



                                                20
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3251 Page 21 of 98



       Plaintiffs were also sexually assaulted, abused, and molested by Defendant Nassar by

       vaginal and anal digital penetration, without the use of gloves or lubricant and by touching

       and groping their breasts.

105.   Upon information and belief, Defendant Gary E. Stollak was told by a minor female patient

       that she had been abused by Defendant Nassar.

106.   Defendant Stollak did not report the abuse.

107.   In 2014, following receipt of an unrelated complaint regarding a sexual assault on

       Defendant MSU’s campus, between 2014 and 2015 the U.S. Department of Education’s

       Office of Civil Rights (hereinafter “OCR”) conducted an investigation regarding the

       complainant’s allegations, another complaint regarding sexual assault and retaliation from

       2011, and Defendant MSU’s response to said complaints, and their general policies,

       practices, and customs pertaining to their responsibilities under Title IX.7

108.   The OCR concluded their investigation in 2015 and presented Defendant MSU with a

       twenty-one page agreement containing measures and requirements to resolve the 2011 and

       2014 complaints and to bring Defendant MSU in compliance with Title IX.8

109.   While the OCR was conducting their investigation, additional complaints regarding

       Defendant Nassar’s conduct surfaced in 2014. The victim reported she had an appointment

       with Defendant Nassar to address hip pain and was sexually abused and molested by




7
  See, Letter from U.S. Department of Education Office for Civil Rights to Michigan State
University, September 1, 2015, OCR Docket #15-11-2098, #15-14-2113. Available at
https://www2.ed.gov/documents/press-releases/michigan-state-letter.pdf, last accessed January 4,
2017.
8
  See, Resolution Agreement, August 28, 2015, OCR Document #15-11-2098, #15-14-2133.
Available at, https://www2.ed.gov/documents/press-releases/michigan-state-agreement.pdf. Last
accessed January 5, 2017.
                                                21
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3252 Page 22 of 98



       Defendant Nassar when he cupped her buttocks, massaged her breast and vaginal area, and

       he became sexually aroused.9

110.   Upon information and belief, Defendant MSU investigated the 2014 complaints through

       their Office of Institutional Equity.

111.   However, the victim reported to Defendant MSU facts which were omitted or withheld

       from the investigative report including but not limited to the following

              a. Defendant Nassar was sexually aroused while touching her;

              b. The appointment with Defendant Nassar did not end until she physically removed

                      his hands from her body.

112.   Three months after initiating the investigation, in July 2014, the victim’s complaints were

       dismissed and Defendant MSU determined she didn’t understand the “nuanced difference”

       between sexual assault and an appropriate medical procedure and deemed Defendant

       Nassar’s conduct “medically appropriate” and “Not of a sexual nature.”10

113.   Following the investigation, upon information and belief, Defendant Nassar became

       subject to new institutional guidelines, one of which – it is believed – was that Defendant

       Nassar was not to examine or treat patients alone.11

114.   After receiving allegations of “athlete concerns,” in approximately summer 2015

       Defendant USAG relieved Defendant Nassar of his duties.12




9
  See, At MSU: Assault, harassment and secrecy. Matt Mencarini, December 15, 2016. Available
at, http://www.lansingstatejournal.com/story/news/local/2016/12/15/michigan-state-sexual-
assault- harassment-larry-nassar/94993582/. Last accessed January 5, 2017.
10
   Id.
11
   Id.
12
   See, Former USA Gymnastics doctor accused of abuse, Mark Alesia, Marisa Kwiatkowski,
Tim Evans, September 12, 2016. Available at, http://www.indystar.com/story/news/2016/09/12/
former-usa-gymnastics-doctor-accused-abuse/89995734/. Last accessed, January 5, 2017.
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Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3253 Page 23 of 98



115.   At no time did Defendant USAG inform Defendants MSU, MSU Trustees, or other MSU

       representatives of the concerns that led to Defendant Nassar being relieved from his duties

       with Defendant USAG.

116.   From July 2014 to September 2016, despite complaints about Nassar’s conduct, Defendant

       MSU continued to permit Defendant Nassar unfettered access to female athletes without

       adequate oversight or supervision to ensure he was complying with the new guidelines.

117.   Plaintiffs were not made aware of Defendant Nassar’s widespread sexual abuse until on or

       around September 12, 2016 or shortly thereafter through related media coverage.13

118.   Defendant Nassar’s employment ended with Defendant MSU on approximately September

       20, 2016 only after the MSU Defendants became aware that:

              a. Defendants Nassar and USAG were sued by a former Olympian who alleged she

                      was sexually assaulted by Defendant Nassar;14 and,

              b. A former patient of Defendant Nassar, Plaintiff Rachel Denhollander, filed a

                      criminal complaint with the Michigan State University Police Department

                      alleging Defendant Nassar sexually assaulted her when she was 15 years

                      old and seeking treatment for back pain as a result of gymnastics. Plaintiff

                      Denhollander’s allegations of sexual assault by Defendant Nassar included

                      but were not limited to:

                             A. Massaging her genitals;

                             B. Penetrating her vagina and anus with his finger and thumb; and,



13
  Id.
14
  See, Case No. 34-2016-00200075, filed with the Superior Court of the State of California,
County of Sacramento, September 8, 2016. A copy of the Complaint is available at
https://www.documentcloud.org/ documents/3106054-JANE-JD-COMPLAINT-Signed.html.
Last accessed, January 5, 2017.
                                                 23
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3254 Page 24 of 98



                             C. Unhooking her bra and massaging her breasts.15

119.   In late November 2016, Defendant Nassar was arrested and charged in Ingham County,

       Michigan on three charges of first-degree criminal sexual conduct with a person under 13,

       and was later released on $1 million bond.16 The case has been bound over to Circuit Court.

       Twenty-two additional counts were recently added.

120.   In mid-December 2016, Defendant Nassar was indicted, arrested, and charged in Federal

       Court in Grand Rapids, Michigan on charges of possession of child pornography and

       receipt/attempted receipt of child pornography.

121.   According to the federal indictment,17 Defendant Nassar:

              a. Knowingly received and attempted to receive child pornography between

                      approximately September 18, 2004 and December 1, 2004;

              b. Knowingly possessed thousands of images of child pornography between

                      approximately February 6, 2003 and September 20, 2016 including images

                      involving a minor who had not attained 12 years of age.

122.   To the best of Plaintiffs’ knowledge, Defendant Nassar is in federal custody pending the

       child pornography criminal charges.

                         V. SPECIFIC FACTUAL ALLEGATIONS

A. JANE AMSU DOE

123.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.



15
   See, Former USA Gymnastics doctor accused of abuse, Mark Alesia, Marisa Kwiatkowski,
Tim Evans, September 12, 2016. Available at, http://www.indystar.com/story/news/2016/09/12/
former-usa-gymnastics-doctor-accused-abuse/89995734/. Last accessed, January 5, 2017.
16
   State of Michigan, Ingham County Circuit Court Case No. 1603031.
17
   1:16-cr-00242 PageID.1-4.
                                               24
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3255 Page 25 of 98



124.   Jane AMSU Doe is a 15-year-old female who, in March of 2014, was a gymnast.

125.   On or about March 10, 2014, Jane AMSU Doe was seen as a patient by Lawrence Nassar,

       D.O., at Michigan State University Sports Medicine Clinic, located at 4660 South

       Hagadorn Road, Suite 420, in East Lansing, Michigan. Her chief complaint was back pain.

126.   Following that visit, Jane AMSU Doe was seen by Dr. Nassar on at least six other

       occasions.

127.   Over the course of this two-year period, Dr. Nassar engaged in gradually more and more

       inappropriate sexual touching to which Jane AMSU Doe, a minor, did not consent.

128.   Dr. Nassar would rest his fingers on Jane AMSU Doe’s genitals and move her underwear

       away, often without wearing gloves.

129.   Dr. Nassar would have Jane AMSU Doe wear a medical gown, then stand in front of her

       and ask her to bend over.

130.   Dr. Nassar conducted acupuncture near Jane AMSU Doe’s genitals and frequently grabbed

       her butt.

131.   Jane AMSU Doe was told not to call Dr. Nassar at the office, but rather to text his phone.

132.   Dr. Nassar offered an appointment at his private residence, which Jane AMSU Doe refused.

133.   Some or all of this conduct occurred after Michigan State University imposed a particular

       protocol for Nassar, including but not limited to: 1) having another person (resident, nurse,

       etc.) in the room while he performed treatments; 2) procedures were to involve little to no

       skin contact; 3) procedures were to be explained in detail with another person in the room

       for both the explanation and the procedure.

134.   Michigan State University and MSU Sports Medicine had received notice of Nassar’s

       inappropriate conduct on multiple occasions dating back to at least 1997.



                                                25
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3256 Page 26 of 98



135.   These actions were intentionally and fraudulently concealed and not documented in the

       medical record.

136.   Jane AMSU Doe, a minor, believed the conduct of Dr. Nassar constituted medical

       treatment and did not discover or become aware that said conduct breached the standard of

       care or practice or was otherwise unlawful or tortious until the allegations against Dr.

       Nassar and Michigan State University were recently made public.

137.   Plaintiff Jane AMSU Doe did not treat or intend to treat with Dr. Nassar for issues related

       to obstetrics or gynecology (hereinafter “OB/GYN”).

138.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane AMSU Doe believed the “treatment”

       she received to be legitimate medical procedures until reports surfaced in or about

       September 2016 of similar allegations made by other women.

B. JANE BMSU DOE

139.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

140.   In approximately 1997, Plaintiff Jane BMSU Doe was training with MSU Youth

       Gymnastics, under the instruction of Kathie Klages.

141.   After Plaintiff began experiencing low back pain, Klages instructed Plaintiff to seek

       treatment with Nassar.

142.   During her visits with Nassar, Plaintiff Jane BMSU Doe would visit Nassar at his office at

       MSU’s Sports Medicine Clinic, which is located on or adjacent to MSU’s East Lansing,

       Michigan campus. Plaintiff Jane BMSU Doe was also seen on occasion in Jenison

       Fieldhouse, which is located on MSU’s campus.



                                               26
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3257 Page 27 of 98



143.   Plaintiff treated with Nassar from approximately 1997 until late 1999.

144.   For over two years, under the guise of treatment, Nassar sexually assaulted, battered,

       abused, and molested Plaintiff by touching and rubbing her genital area and digitally

       penetrating her vagina without the use of gloves or lubricant and without Plaintiff’s consent

       or the consent of Plaintiff’s parents.

145.   Plaintiff Jane BMSU Doe was a minor when many instances of the sexual abuse happened,

       as she did not reach the age of majority until late 1998.

146.   Nassar would begin “treatments” by asking Plaintiff Jane BMSU Doe to completely

       disrobe from the waist down. Then, Nassar would have Plaintiff lie on the examining table,

       usually face-down. Nassar would then digitally penetrate Plaintiff’s vagina and rub very

       hard while he made grunting noises. Nassar would occasionally rest his thumb or finger

       on Plaintiff’s anus.    Plaintiff often perceived that Nassar was aroused during these

       “treatments.”

147.   Nassar represented that these “treatments” were for the purpose of alleviating Plaintiff’s

       low back pain.

148.   Nassar would not wear gloves during these “treatments.”

149.   On at least one occasion, Nassar asked Plaintiff about her sex life and in particular whether

       she performed oral sex on her then-boyfriend.

150.   These “treatments” would occur approximately once per week at first, gradually decreasing

       to once every two weeks.

151.   Plaintiff did not treat and never intended to treat with Nassar for OB/GYN issues.

152.   Nassar did not give prior notice or obtain consent for digital penetration from Plaintiff or

       Plaintiff’s parents even though she was a minor at the time.



                                                27
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3258 Page 28 of 98



153.   Neither Plaintiff nor Plaintiff’s parents consented to any touching, rubbing, or digital

       penetration of Plaintiff’s vagina.

154.   Nassar attempted to create for himself a position of trust with both Plaintiff and Plaintiff’s

       parents by, among other things, asking Plaintiff to call him “Larry” instead of “Dr. Nassar.”

155.   Sometime in late 1997 to mid 1998, when Plaintiff was 16 or 17 years old, Plaintiff Jane

       BMSU Doe told Defendant Kathie Klages that Plaintiff was concerned about the

       “treatments” provided by Nassar. Klages explained that she had known Nassar for years

       and could not imagine him doing anything questionable. Defendant Klages told Plaintiff

       that she (Plaintiff) must be “misunderstanding” or “reading into” what Nassar was doing.

       Klages explained that she (Klages) could file something, but that it would have serious

       consequences for Plaintiff and for Nassar.        This conversation left Plaintiff feeling

       intimidated, embarrassed, and scared, and caused Plaintiff to believe that nothing illegal or

       tortious was happening.

156.   At her next appointment with Defendant Nassar, Nassar indicated Klages called him to

       inform him of Plaintiff’s conversation with Klages. Nassar proceeded to tell Plaintiff Jane

       BMSU Doe that she (Plaintiff) “was not understanding a proper medical treatment.”

       Nassar proceeded to commit another sexual assault at that appointment.

157.   In approximately September of 2016, Plaintiff Jane BMSU Doe became aware of

       allegations of sexual abuse against Nassar.

158.   These actions were intentionally and fraudulently concealed and not documented in the

       medical record.

159.   Jane BMSU Doe, a minor at the time, believed the conduct of Dr. Nassar constituted

       medical treatment and did not discover or become aware that said conduct breached the



                                                28
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3259 Page 29 of 98



       standard of care or practice or was otherwise unlawful or tortious until the allegations

       against Dr. Nassar and Michigan State University were recently made public.

160.   Plaintiff Jane BMSU Doe did not treat or intend to treat with Dr. Nassar for issues related

       to obstetrics or gynecology (hereinafter “OB/GYN”).

161.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane BMSU Doe believed the “treatment” she

       received to be legitimate medical procedures until reports surfaced in or about September

       2016 of similar allegations made by other women.

C. JANE CMSU DOE

162.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

163.   Plaintiff Jane CMSU Doe treated with Dr. Nassar, first at Twistars and then his office at

       MSU, from 2004 to approximately 2013.

164.   In 2004, Plaintiff Jane CMSU Doe was a minor, 11 or 12 years old.

165.   Plaintiff Jane CMSU Doe presented to Dr. Nassar with complaints of injuries to her ribs

       and back suffered through gymnastics.

166.   Between 2004 and approximately 2013, at appointments at his office at MSU, Defendant

       Nassar would remove Plaintiff Jane CMSU Doe’s sports bra, massage her breasts, pull

       down her pants and rub her butt with his thumb penetrating her anus and causing bleeding,

       and engage in other similar conduct under the guise of performing “treatment.”

167.   On one occasion, Defendant Nassar’s finger slipped while massaging Jane CMSU Doe,

       cutting her labia minora with his fingernail.




                                                29
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3260 Page 30 of 98



168.   Defendant Nassar would engage in inappropriate sexual dialog with Plaintiff Jane CMSU

       Doe.

169.   On several occasions, Defendant Nassar would perform the above-described “treatment”

       while Plaintiff CMSU Doe’s mother was in the examination room.

170.   On multiple occasions during these treatments, Plaintiff Jane CMSU Doe witnessed

       Defendant Nassar sexually aroused and Defendant Nassar’s erection would come into

       contact with Plaintiff CMSU Doe’s body.

171.   Defendant Nassar did not give prior notice or obtain consent for digital penetration or to

       touch Plaintiff Jane CMSU Doe’s vagina, anus, or breasts.

172.   Defendant Nassar frightened Plaintiff Jane CMSU Doe into quitting gymnastics by telling

       her she could become paralyzed.

173.   Plaintiff Jane CMSU Doe did not treat or intend to treat with Dr. Nassar for issues related

       to obstetrics or gynecology (hereinafter “OB/GYN”).

174.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane CMSU Doe believed the “treatment” she

       received to be legitimate medical procedures until reports surfaced in or about September

       2016 of similar allegations made by other women.

D. JANE DMSU DOE

175.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

176.   Plaintiff Jane DMSU Doe treated with Defendant Nassar at his office at MSU beginning

       in 1996.

177.   At that time, Jane DMSU Doe was a minor, approximately 16 or 17 years old.



                                               30
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3261 Page 31 of 98



178.   Plaintiff Jane DMSU Doe presented to Defendant Nassar with complaints of back pain.

179.   At an appointment at his office at MSU, Defendant Nassar digitally penetrated Plaintiff

       Jane DMSU Doe’s vagina multiple times without prior notice.

180.   Defendant Nassar did not give prior notice or obtain consent for digital penetration.

181.   Plaintiff Jane DMSU Doe did not treat or intend to treat with Dr. Nassar for OB/GYN

       issues.

182.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane DMSU Doe believed the “treatment”

       she received to be legitimate medical procedures until reports surfaced in or about

       September 2016 of similar allegations made by other women.

E. JANE EMSU DOE

183.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

184.   Plaintiff Jane EMSU Doe was a participant in youth gymnastics programs.

185.   Plaintiff treated with Dr. Nassar from 2005 to 2007 at his office at MSU.

186.   Plaintiff Jane EMSU Doe presented to Dr. Nassar with complaints of knee, leg, and back

       pain.

187.   At the time of her “treatments” with Defendant Nassar, Plaintiff EMSU Doe was a minor,

       approximately 16 years old when she began seeing him.

188.   Defendant Nassar diagnosed Plaintiff EMSU Doe with a fracture in her back, though no

       other doctor offered that diagnosis.

189.   On several occasions, at appointments at his office at MSU, Defendant Nassar sexually

       assaulted Plaintiff Jane EMSU Doe.



                                               31
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3262 Page 32 of 98



190.   Plaintiff Jane EMSU Doe’s mother would attend these appointments with her, but

       Defendant Nassar would position himself in such a way as to prevent observation of his

       conduct.

191.   On one occasion, Defendant Nassar explained that he could relieve Plaintiff’s leg pain by

       manipulating a bundle of nerves near Plaintiff’s genitals.

192.   Defendant Nassar did not give prior notice or obtain consent for his conduct.

193.   Plaintiff Jane EMSU Doe did not treat or intend to treat with Dr. Nassar for OB/GYN

       issues.

194.   Shortly after beginning her “treatments” with Defendant Nassar, Plaintiff EMSU Doe

       developed an eating disorder and depression, resulting in the termination of her gymnastics

       career.

195.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane DMSU Doe believed the “treatment”

       she received to be legitimate medical procedures until reports surfaced in or about

       September 2016 of similar allegations made by other women.

D. JANE FMSU DOE

196.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

197.   Plaintiff Jane FMSU Doe treated with Dr. Nassar between December 2008 and May 2009

       at his office at MSU.

198.   Plaintiff FMSU Doe was a dancer, cheerleader, and gymnast during that time.

199.   Plaintiff Jane FMSU Doe presented to Defendant Nassar with complaints of lower back

       pain, specifically a tailbone injury sustained during cheerleading.



                                                32
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3263 Page 33 of 98



200.   On approximately eight separate occasions at appointments at his office at MSU,

       Defendant Nassar digitally penetrated Plaintiff Jane FMSU Doe’s vagina and anus without

       prior notice and without gloves or lubricant.

201.   Plaintiff Jane FMSU Doe did not treat or intend to treat with Dr. Nassar for OB/GYN

       issues.

202.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane DMSU Doe believed the “treatment”

       she received to be legitimate medical procedures until reports surfaced in or about

       September 2016 of similar allegations made by other women.

G. JANE GMSU DOE

203.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

204.   Plaintiff Jane GMSU Doe treated with Dr. Nassar at his office at MSU from 1999 to 2004.

205.   In 1999, Plaintiff Jane GMSU Doe was a minor, 15 years old, and a virgin.

206.   Plaintiff Jane GMSU Doe presented to Dr. Nassar with complaints of injuries to her hip

       suffered through playing soccer.

207.   Between 1999 and 2004, at appointments at his office at MSU, Defendant Nassar would

       direct Plaintiff Jane GMSU Does to disrobe from the waist down, begin “massaging” her,

       and then conduct what Nassar described as a “spinal evaluation” involving digital vaginal

       and anal penetration without gloves.

208.   Defendant Nassar would engage in inappropriate sexual dialog with Plaintiff Jane GMSU

       Doe.




                                               33
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3264 Page 34 of 98



209.   These “treatments” would occur approximately 3 times per month, and the vast majority

       occurred when no one else was present in the examination room.

210.   On multiple occasions during these “treatments,” Plaintiff Jane GMSU Doe perceived

       Defendant Nassar to be grunting and breathing heavily. Following the “treatments,”

       Nassar would look Plaintiff directly in the eye, ask her if she felt better, and hug her.

211.   Defendant Nassar did not give prior notice or obtain consent for digital penetration or to

       touch Plaintiff Jane GMSU Doe’s vagina, anus, or breasts.

212.   Defendant Nassar gave Plaintiff GMSU Doe several gifts to win her trust, including

       pictures and other trinkets. Nassar also asked Plaintiff to call him “Larry” rather than “Dr.

       Nassar.”

213.   Plaintiff Jane GMSU Doe did not treat or intend to treat with Dr. Nassar for issues related

       to obstetrics or gynecology (hereinafter “OB/GYN”).

214.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane GMSU Doe believed the “treatment”

       she received to be legitimate medical procedures until reports surfaced in or about

       September 2016 of similar allegations made by other women.

H. JANE HMSU DOE

215.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

216.   Plaintiff Jane HMSU Doe treated with Defendant Nassar at his office at MSU beginning

       in 1998.

217.   At that time, Jane HMSU Doe was a minor, approximately 17 years old.




                                                 34
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3265 Page 35 of 98



218.   Plaintiff Jane HMSU Doe presented to Defendant Nassar with complaints of hip pain due

       to a gymnastics injury.

219.   At numerous appointments at his office at MSU, Defendant Nassar directed Plaintiff to lay

       on her stomach, he would massage her shoulders and back, and then digitally penetrate

       Plaintiff Jane HMSU Doe’s vagina without prior notice.

220.   Defendant Nassar did not give prior notice or obtain consent for digital penetration.

221.   Plaintiff Jane HMSU Doe did not treat or intend to treat with Dr. Nassar for OB/GYN

       issues.

222.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane HMSU Doe believed the “treatment”

       she received to be legitimate medical procedures until reports surfaced in or about

       September 2016 of similar allegations made by other women.

I. JANE IMSU DOE

223.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

224.   Plaintiff Jane IMSU Doe was a participant in Spartan youth gymnastics programs.

225.   Plaintiff began treating with Defendant Nassar in 1997 at his office at MSU. On occasion,

       Plaintiff would also see Defendant Nassar at Jenison Fieldhouse.

226.   Plaintiff Jane IMSU Doe presented to Dr. Nassar with complaints of low back pain

       approximately once a week.

227.   At the time of her “treatments” with Defendant Nassar, Plaintiff IMSU Doe was a minor,

       approximately 14 or 15 years old when she began seeing him and was a virgin.




                                               35
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3266 Page 36 of 98



228.   At the beginning of most of these appointments, Defendant Nassar would hug Jane IMSU

       Doe and take other steps to make her “feel special.”

229.   Defendant Nassar engaged Plaintiff in sexually suggestive conversations, asking if she had

       a boyfriend and “how far” they would go in terms of sexual activity.

230.   On several occasions at appointments at his office at MSU Defendant Nassar sexually

       assaulted Plaintiff Jane IMSU Doe by engaging in digital vaginal and anal penetration.

231.   Plaintiff’s parents would attend these appointments with her on occasion, but Defendant

       Nassar would position himself in such a way as to prevent observation of his conduct.

232.   During these “treatments,” Plaintiff perceived Defendant Nassar to be aroused and making

       grunting noises.

233.   On at least one occasion, Plaintiff specifically declined the intervaginal “treatment,” but

       Defendant Nassar held her down with the weight of his body and performed the

       “procedure” against Plaintiff’s will.

234.   As a result of MSU gymnastics head coach Kathie Klages being informed by a fellow

       athlete of Defendant Nassar’s conduct, Jane IMSU Doe was asked by Klages if Nassar had

       performed the “procedure” involving digital vaginal and anal penetration on her (Jane

       IMSU Doe), and Jane IMSU Doe responded in the affirmative. Klages told Jane IMSU

       Doe that there is no reason to bring up Nassar’s conduct.

235.   Plaintiff Jane IMSU Doe did not treat or intend to treat with Dr. Nassar for OB/GYN issues.

236.   Shortly after beginning her “treatments” with Defendant Nassar, Plaintiff IMSU Doe

       developed an eating disorder and depression, resulting in the termination of her gymnastics

       career.




                                               36
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3267 Page 37 of 98



237.   Based on Defendant Nassar’s representations and the representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane IMSU Doe believed the “treatment” she

       received to be legitimate medical procedures until reports surfaced in or about September

       2016 of similar allegations made by other women.

J. JANE JMSU DOE

238.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

239.   Plaintiff Jane JMSU Doe began treating with Dr. Nassar in 1997 or 1998 at his office at

       MSU. She was seen two times.

240.   Plaintiff JMSU Doe was in her 30s at the time of her encounters with Defendant Nassar.

241.   Plaintiff Jane JMSU Doe presented to Defendant Nassar with complaints of knee pain.

242.   At both appointments with Defendant Nassar, Nassar massaged/manually examined

       Plaintiff’s upper thigh and digitally penetrated Plaintiff Jane JMSU Doe’s vagina with his

       finger or knuckle without prior notice and without gloves or lubricant.

243.   Plaintiff Jane JMSU Doe did not treat or intend to treat with Dr. Nassar for OB/GYN issues.

244.   Based on Defendant Nassar’s representations, Plaintiff Jane JMSU Doe believed the

       “treatment” she received to be legitimate medical procedures until reports surfaced in or

       about September 2016 of similar allegations made by other women.

K. JANE KMSU DOE

245.   In 2010, Plaintiff Jane KMSU Doe was a minor, approximately 15 years old. Jane KMSU

       Doe is and was at that time a swimmer.

246.   Plaintiff Jane KMSU Doe presented to Nassar with complaints of right shoulder, back, and

       neck pain as well as headaches. Plaintiff treated with Nassar until 2011.



                                                37
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3268 Page 38 of 98



247.   Plaintiff Jane KMSU Doe then reestablished care with Nassar in February or April of 2015,

       primarily for treatment of her right shoulder.

248.   Plaintiff treated with Nassar until mid- to late August 2016, with her last appointment being

       approximately August 16, 2016.

249.   At these appointments at his office at MSU, Nassar would put his hands under Plaintiff’s

       sports bra and massage her breasts outside the scope of medicine under the guise of

       providing legitimate medical treatment for Claimant’s shoulder, back, and rib pain.

250.   On August 31, 2016, Claimant received a voicemail from MSU Sports Medicine indicating

       she would have to reschedule her next appointment because Nassar was on “personal

       leave.”

251.   Plaintiff Jane KMSU Doe did not treat or intend to treat with Dr. Nassar for issues related

       to obstetrics or gynecology (hereinafter “OB/GYN”).

252.   Based on Defendant Nassar’s representations and representations made by other

       individuals affiliated with the MSU defendants, Plaintiff Jane KMSU Doe believed the

       “treatment” she received to be legitimate medical procedures until reports surfaced in or

       about September 2016 of similar allegations made by other women.

L. JANE LMSU DOE

253.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

254.   Plaintiff Jane LMSU Doe treated with Defendant Nassar at his office at MSU beginning in

       2002.

255.   At that time, Jane LMSU Doe was a minor, approximately 16 years old.




                                                38
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3269 Page 39 of 98



256.   Plaintiff Jane LMSU Doe presented to Defendant Nassar with complaints of right groin

       pain.

257.   Plaintiff Jane LMSU Doe had appointments with Defendant Nassar approximately once

       per week.

258.   At numerous appointments at his office at MSU, Defendant Nassar directed Plaintiff to lay

       on her back, he would massage her groin, and then digitally penetrate Plaintiff Jane LMSU

       Doe’s vagina.

259.   Defendant Nassar represented to Plaintiff that penetration was necessary. Nassar did not

       ask Plaintiff if the touching made her uncomfortable.

260.   Defendant Nassar did not wear gloves for these “treatments.”

261.   During these appointments, no nurse would be present in the room for the “treatment.”

262.   Plaintiff Jane LMSU Doe did not treat or intend to treat with Dr. Nassar for OB/GYN

       issues.

263.   Based on Defendant Nassar’s representations and representations of other individuals

       affiliated with the MSU defendants, Plaintiff Jane LMSU Doe believed the “treatment” she

       received to be legitimate medical procedures until reports surfaced in or about September

       2016 of similar allegations made by other women.

       VI. CLAIMS AGAINST MICHIGAN STATE UNIVERSITY DEFENDANTS

       A. COUNT ONE

                                 VIOLATIONS OF TITLE IX
                                   20 U.S.C. §1681(a), et seq.
                            DEFENDANTS MSU, MSU TRUSTEES
264.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.




                                               39
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3270 Page 40 of 98



265.   Title IX’s statutory language states, “No person in the United States shall on the basis of

       sex, be … subject to discrimination under any education program or activity receiving

       Federal financial assistance …”

266.   Plaintiffs are “persons” under the Title IX statutory language.

267.   Defendant MSU receives federal financial assistance for its education program and is

       therefore subject to the provisions of Title IX of the Education Act of 1972, 20 U.S.C.

       §1681(a), et seq.

268.   Defendant MSU is required under Title IX to investigate allegations of sexual assault,

       sexual abuse, and sexual harassment.

269.   The U.S. Department of Education’s Office of Civil Rights has explained that Title IX

       covers all programs of a school, and extends to sexual harassment and assault by

       employees, students and third parties.

270.   Defendant Nassar’s actions and conduct were carried out under one or more of Defendant

       MSU programs, which provides medical treatment to students, athletes, and the public.

271.   Defendant Nassar’s conduct and actions toward Plaintiffs, that being nonconsensual digital

       vaginal and anal penetration, touching of Plaintiffs vaginal area, and touching of Plaintiffs

       breasts constitutes sex discrimination under Title IX.

272.   By at least 1999 and/or 2000, and as early as 1997 or 1998, an “appropriate person” at

       Defendant MSU had actual knowledge of the sexual assault, abuse, and molestation

       committed by Defendant Nassar.

273.   The MSU Defendants failed to carry out their duties to investigate and take corrective

       action under Title IX following complaints of sexual assault, abuse, and molestation in or

       around 1999 and/or 2000.



                                                40
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3271 Page 41 of 98



274.   The MSU Defendants were notified again in 2014 of Defendant Nassar’s conduct when a

       victim reported she had an appointment with Defendant Nassar to address hip pain and was

       sexually abused and molested by Defendant Nassar when he cupped her buttocks,

       massaged her breast and vaginal area, and he became sexually aroused.

275.   The victim reported to Defendant MSU facts which were omitted or withheld from the

       investigative report including but not limited to the following:

              a. Defendant Nassar was sexually aroused while touching her;

              b. The appointment with Defendant Nassar did not end until she physically removed

                      his hands from her body.

276.   Three months after initiating an investigation, in July 2014, the victim’s complaints were

       dismissed and Defendant MSU determined she didn’t understand the “nuanced difference”

       between sexual assault and an appropriate medical procedure and deemed Defendant

       Nassar’s conduct “medically appropriate” and “Not of a sexual nature.”

277.   Following the investigation, upon information and belief, Defendant Nassar became

       subject to new institutional guidelines, one of which – it is believed – was that Defendant

       Nassar was not to examine or treat patients alone.

278.   The MSU Defendants failed to adequately supervise or otherwise ensure Defendant Nassar

       complied with the newly imposed institutional guidelines even though the MSU

       Defendants had actual knowledge Nassar posed a substantial risk of additional sexual abuse

       of females whom he had unfettered access.

279.   After the 2014 complaints Defendant Nassar continued to sexually assault, abuse, and

       molest individuals.




                                                 41
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3272 Page 42 of 98



280.   The MSU Defendants acted with deliberate indifference to known acts of sexual assault,

       abuse, and molestation on its premises by:

              a. failing to investigate and address allegations as required by Title IX;

              b. failing to adequately investigate and address the 2014 complaint regarding

                      Defendant Nassar’s conduct; and,

              c. failing to institute corrective measures to prevent Defendant Nassar from

                      violating and sexually abusing other students and individuals, including

                      minors.

281.   The MSU Defendants acted with deliberate indifference as its lack of response to the

       allegations of sexual assault, abuse, and molestation was clearly unreasonable in light of

       the known circumstances, Defendant Nassar’s actions with female athletes, and his access

       to young girls and young women.

282.   The MSU Defendants’ deliberate indifference was confirmed by the Department of

       Education’s investigation into Defendant MSU’s handling of sexual assault and

       relationship violence allegations which revealed:

              a. A sexually hostile environment existed and affected numerous students and staff

                      on Defendant MSU’s campus;

              b. That the University’s failure to address complaints of sexual harassment,

                      including sexual violence in a prompt and equitable manner caused and may

                      have contributed to a continuation of the sexually hostile environment.

283.   The MSU Defendants’ responses were clearly unreasonable as Defendant Nassar continued

       to sexually assault female athletes and other individuals until he was discharged from the

       University in 2016.



                                               42
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3273 Page 43 of 98



284.   Between the dates of approximately 1996 and 2016, the MSU Defendants acted in a

       deliberate, grossly negligent, and/or reckless manner when they failed to reasonably

       respond to Defendant Nassar’s sexual assaults and sex-based harassment of Plaintiffs on

       and off school premises.

285.   The MSU Defendants failed warn or advise current and former patients of Defendant

       Nassar, including Plaintiffs, that allegations could surface that in fact the treatments that

       the patients received was not medical treatment at all but was potentially sexual assault.

286.   The MSU Defendants failed to offer counseling services to current of former patients of

       Defendant Nassar, including Plaintiffs.

287.   The MSU Defendants’ failure to promptly and appropriately investigate and remedy and

       respond to the sexual assaults after they received notice subjected Plaintiffs to further

       harassment and a sexually hostile environment, effectively denying them all access to

       educational opportunities at MSU, including medical care.

288.   As a or the direct and/or proximate result of the MSU Defendants’ actions and/or inactions,

       Plaintiffs have suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       B. COUNT TWO

                     VIOLATION OF CIVIL RIGHTS
                            42 U.S.C. § 1983
   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, DEFENDANT NASSAR



                                                 43
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3274 Page 44 of 98



289.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

290.   Plaintiffs, as females, are members of a protected class under the Equal Protection Clause

       of the Fourteenth Amendment to the United States Constitution.

291.   Plaintiffs enjoy the constitutionally protected Due Process right to be free from the invasion

       of bodily integrity through sexual assault, abuse, or molestation.

292.   At all relevant times, Defendants MSU, MSU Trustees, and Nassar were acting under color

       of law, to wit, under color of statutes, ordinances, regulations, policies, customs, and usages

       of the State of Michigan and/or Defendant Michigan State University.

293.   The acts as alleged above amount to a violation of these clearly established constitutionally

       protected rights, of which reasonable persons in the MSU Defendants’ positions should

       have known.

294.   The MSU Defendants have the ultimate responsibility and authority to train and supervise

       its employees, agents, and/or representatives, in the appropriate manner of detecting,

       reporting, and preventing sexual abuse, assault, and molestation and as a matter of acts,

       custom, policy, and/or practice, failed to do so with deliberate indifference.

295.   As a matter of custom, policy, and and/or practice, the MSU Defendants had and have the

       ultimate responsibility and authority to investigate complaints against their employees,

       agents, and representatives from all individuals including, but not limited to students,

       visitors, faculty, staff, or other employees, agents, and/or representatives, and failed to do

       so with deliberate indifference.




                                                 44
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3275 Page 45 of 98



296.   The MSU Defendants had a duty to prevent sexual assault, abuse, and molestation on their

       campus and premises, that duty arising under the above-referenced constitutional rights, as

       well as established rights pursuant to Title IX.

297.   Defendant MSU’s internal policies provide that “[a]ll University employees ... are expected

       to promptly report sexual misconduct or relationship violence that they observe or learn

       about and that involves a member of the University community (faculty, staff or student)

       or occurred at a University event or on University property." They state further: "[t]he

       employee must report all relevant details about the alleged relationship violence or sexual

       misconduct that occurred on campus or at a campus-sponsored event. .. "

298.   Defendant MSU’s aforementioned internal policies were violated as early as 1997 when

       an individual reported sexual assault, abuse, and molestation by Defendant Nassar to MSU

       representatives including trainers and a coach and no action was taken to address her

       complaints.

299.   Defendant MSU’s aforementioned internal policies were violated in again in 1999 and

       2000 when other individuals reported sexual assault, abuse, and molestation by Defendant

       Nassar to MSU representatives including trainers and no action was taken to address these

       complaints.

300.   The MSU Defendants’ failure to address the above-described complaints led to an

       unknown number of individuals being victimized, sexually assaulted, abused, and molested

       by Defendant Nassar.

301.   Additionally, the MSU Defendant’s failure to properly address the 2014 complaint

       regarding Defendant Nassar’s conduct also led to others being victimized, sexually

       assaulted, abused and molested by Defendant Nassar.



                                                45
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3276 Page 46 of 98



302.   Ultimately, Defendants failed to adequately and properly investigate the complaints of

       Plaintiffs or other similarly-situated individuals including but not limited to failing to:

              a. perform a thorough investigation into improper conduct by Defendant Nassar

                      with Plaintiffs after receiving complaints in 1999 and 2000;

              b. thoroughly review and investigate all policies, practices, procedures and training

                      materials related to the circumstances surrounding the conduct of Defendant

                      Nassar;

              c. recognize sexual assault when reported in 2014 and permitting University

                      officials to deem sexual assault as “medically appropriate” and “not of a

                      sexual nature;” and,

              d. ensure all institutional guidelines issued following the 2014 investigation into

                      Defendant Nassar’s conduct were satisfied.

303.   As indicated in the U.S. Department of Education Office of Civil Rights report, the MSU

       Defendants had a culture that permitted a sexually hostile environment to exist affecting

       numerous individuals on Defendant MSU’s campus, including Plaintiffs.

304.   Also indicated in the report was Defendant MSU’s custom, practice, and/or policy of

       failing to address complaints of sexual harassment, including sexual violence in a prompt

       and equitable manner which caused and may have contributed to a continuation of the

       sexually hostile environment.

305.   By failing to prevent the aforementioned sexual assault, abuse, and molestation upon

       Plaintiffs, and by failing to appropriately respond to reports of Defendant Nassar’s sexual

       assault, abuse, and molestation in a manner that was so clearly unreasonable it amounted




                                                 46
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3277 Page 47 of 98



        to deliberate indifference, the MSU Defendants are liable to Plaintiffs pursuant to 42 U.S.C.

        §1983.

306.    The MSU Defendants are also liable to Plaintiffs under 42 U.S.C. §1983 for maintaining

        customs, policies, practices which deprived Plaintiffs of rights secured by the Fourteenth

        Amendment to the United States Constitution in violation of 42 U.S.C. §1983.

307.    The MSU Defendants tolerated, authorized and/or permitted a custom, policy, practice or

        procedure of insufficient supervision and failed to adequately screen, counsel, or discipline

        Defendant Nassar, with the result that Defendant Nassar was allowed to violate the rights

        of persons such as Plaintiffs with impunity.

308.    The MSU Defendants failed warn or advise current and former patients of Defendant

        Nassar, including Plaintiffs, that allegations could surface that in fact the treatments that

        the patients received was not medical treatment at all but was potentially sexual assault.

309.    The MSU Defendants failed to offer counseling services to current of former patients of

        Defendant Nassar, including Plaintiffs.

310.    As a or the direct and/or proximate result of the MSU Defendants’ actions and/or inactions,

        Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

        physical manifestations of emotional distress, embarrassment, loss of self-esteem,

        disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

        continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

        enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

        capacity.

        C. COUNT THREE

       VIOLATIONS OF THE ELLIOT-LARSEN CIVIL RIGHTS ACT, MCL 37.2101



                                                  47
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3278 Page 48 of 98



311.   Plaintiff realleges and incorporates by reference the allegations contained in the preceding

       paragraphs.

312.   The Elliot-Larsen Civil Rights Act (“Elliot-Larsen”) prohibits discrimination based on sex.

       MCL 37.2102.

313.   “Discrimination because of sex includes sexual harassment.” MCL 37.2.103(i).

314.   “Sexual harassment means unwelcome sexual advances, requests for sexual favors, and

       other verbal or physical conduct or communication of a sexual nature.” MCL 37.2103(i).

315.   Elliot-Larsen protects against sexual harassment in educational institutions.

316.   MSU is an educational institution pursuant to MCL 37.2401.

317.   An educational institution shall not “discriminate against an individual in the full utilization

       of or benefit from the institution, or the services, activities, or programs provided by the

       institution because of . . . sex.” MCL 37.2401(a) (emphasis added).

318.   Elliot-Larsen also protects against sexual harassment in places of public accommodation.

       MCL 37.2302. Under this section, an individual shall not be denied “full and equal

       enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of

       a place of public accommodation or public service because of . . . sex.” MCL37.2302(a).

319.   MSU is a “place of public accommodation” because its “services, facilities, privileges,

       advantages, or accommodations are extended, offered, sold, or otherwise made available

       to the public.” MCL 37.2301(a).

320.   Plaintiffs are “persons” within the meaning of MCL 37.2103(g).

321.   Nassar’s actions and conduct were carried out under one of MSU’s programs, which

       provides medical treatment to students, athletes, and the general public, wherein MSU,




                                                 48
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3279 Page 49 of 98



       through MSU Sport Medicine Clinic, solicits and markets to people like Plaintiffs, and

       places Plaintiffs within the University community.

322.   Nassar’s actions and conduct toward Plaintiffs denied them the full and equal enjoyment

       of MSU’s services at a place of public accommodation, in violation of Elliot-Larson.

323.   Nassar’s actions and conduct toward Plaintiffs of nonconsensual sexual assault, battery,

       and molestation, which includes unconsented touching and rubbing of Plaintiffs’ genitalia,

       breasts, and unconsented digital penetration of Plaintiff’s vagina, constitute sex

       discrimination under Elliot-Larsen.

324.   As a or the direct and/or proximate result of the MSU and Nassar’s actions and inactions,

       Plaintiffs have suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, was prevented and will

       continue to be prevented from performing daily activities and obtaining the full enjoyment

       of life, and have sustained and continue to sustain loss of earnings and earning capacity.

       D. COUNT FOUR

                    FAILURE TO TRAIN AND SUPERVISE
                             42 U.S.C. § 1983
    ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, NASSAR, STRAMPEL,
                      KOVAN, STOLLAK, and KLAGES

325.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

326.   The MSU Defendants have the ultimate responsibility and authority to train and supervise

       its employees, agents, and/or representatives including Defendants Nassar, Strampel,

       Kovan, Klages and all faculty and staff regarding their duties toward students, faculty, staff,

       and visitors.

                                                 49
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3280 Page 50 of 98



327.   The MSU Defendants failed to train and supervise its employees, agents, and/or

       representatives including all faculty and staff, regarding the following duties:

              a. Perceive, report, and stop inappropriate sexual conduct on campus;

              b. Provide diligent supervision over student-athletes and other individuals;

              c. Report suspected incidents of sexual abuse or sexual assault;

              d. Ensure the safety of all students, faculty, staff, and visitors to Defendant MSU’s

                      campuses premises;

              e. Provide a safe environment for all students, faculty, staff, and visitors to

                      Defendant MSU’s premises free from sexual harassment; and,

              f. Properly train faculty and staff to be aware of their individual responsibility for

                      creating and maintaining a safe environment.

328.   The above list of duties is not exhaustive.

329.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak, had a duty to report suspected sexual abuse.

330.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak failed to report sexual abuse about which they knew

       or should have known.

331.   The MSU Defendants failed to adequately train coaches, trainers, medical staff, and others

       regarding the aforementioned duties which led to violations of Plaintiffs rights.

332.   As a result, the MSU Defendants deprived Plaintiffs of rights secured by the Fourteenth

       Amendment to the United States Constitution in violation of 42 U.S.C. §1983.




                                                50
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3281 Page 51 of 98



333.   The MSU Defendants failed warn or advise current and former patients of Defendant

       Nassar, including Plaintiffs, that allegations could surface that in fact the treatments that

       the patients received was not medical treatment at all but was potentially sexual assault.

334.   The MSU Defendants failed to offer counseling services to current of former patients of

       Defendant Nassar, including Plaintiffs.

335.   As a or the direct and/or proximate result of Defendants’ actions and/or inactions, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       E. COUNT FIVE

                         GROSS NEGLIGENCE
    ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, NASSAR, STRAMPEL,
                     KOVAN, STOLLAK, and KLAGES

336.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

337.   The MSU Defendants owed Plaintiffs a duty to use due care to ensure their safety and

       freedom from sexual assault, abuse, and molestation while interacting with their

       employees, representatives, and/or agents, including Defendant Nassar.

338.   Defendant Nassar owed Plaintiffs a duty of due care in carrying out medical treatment as

       an employee, agent, and/or representative of the MSU Defendants.

339.   By seeking medical treatment from Defendant Nassar in the course of his employment,

       agency, and/or representation of the MSU Defendants, a special, confidential, and fiduciary



                                                 51
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3282 Page 52 of 98



       relationship between Plaintiffs and Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use due care.

340.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak, had a duty to report suspected sexual abuse.

341.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak failed to report sexual abuse about which they knew

       or should have known.

342.   The MSU Defendants’ failure to adequately supervise Defendant Nassar, especially after

       MSU knew or should have known of complaints regarding his nonconsensual sexual

       touching and assaults during “treatments” was so reckless as to demonstrate a substantial

       lack of concern for whether an injury would result to Plaintiffs.

343.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs in the

       course of his employment, agency, and/or representation of the MSU Defendants and under

       the guise of rendering “medical treatment” was so reckless as to demonstrate a substantial

       lack of concern for whether an injury would result to Plaintiffs.

344.   The MSU Defendants’ conduct and the conduct of their individual employees and agents

       demonstrated a willful disregard for precautions to ensure Plaintiffs’ safety.

345.   The MSU Defendants’ conduct conduct and the conduct of their individual employees and

       agents as described above, demonstrated a willful disregard for substantial risks to

       Plaintiffs.

346.   The MSU Defendants conduct and the conduct of their individual employees and agents,

       namely Defendants Strampel, Kovan, Stollak, and Klages, breached duties owed to

       Plaintiffs and were grossly negligent when they conducted themselves by the actions



                                                52
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3283 Page 53 of 98



       described above, said acts having been committed with reckless disregard for Plaintiffs’

       health, safety, Constitutional and/or statutory rights, and with a substantial lack of concern

       as to whether an injury would result.

347.   The MSU Defendants failed warn or advise current and former patients of Defendant

       Nassar, including Plaintiffs, that allegations could surface that in fact the treatments that

       the patients received was not medical treatment at all but was potentially sexual assault.

348.   The MSU Defendants failed to offer counseling services to current of former patients of

       Defendant Nassar, including Plaintiffs.

349.   As a or the direct and/or proximate result of Defendants’ actions and/or inactions, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       F. COUNT SIX

                             NEGLIGENCE
    ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, NASSAR, STRAMPEL,
                     KOVAN, KLAGES, and STOLLAK

350.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

351.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak owed Plaintiffs a duty of ordinary care to ensure

       their safety and freedom from sexual assault, abuse, and molestation while interacting with

       their employees, representatives and/or agents.



                                                 53
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3284 Page 54 of 98



352.   By seeking medical treatment from Defendant Nassar in his capacity as an employee,

       agent, and/or representative of the MSU Defendants, a special, confidential, and fiduciary

       relationship between Plaintiffs and Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use ordinary care.

353.   Defendant Nassar owed Plaintiffs a duty of ordinary care.

354.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak, had a duty to report suspected sexual abuse.

355.   The MSU Defendants and their individual employees and agents, namely Defendants

       Strampel, Kovan, Klages, and Stollak failed to report sexual abuse about which they knew

       or should have known.

356.   The MSU Defendants’ failure to adequately train and supervise Defendant Nassar breached

       the duty of ordinary care.

357.   The MSU Defendants had notice through its own employees, agents, and/or representatives

       as early as 1997 or 1998, again in 1999, again in 2000, and again in 2014 of complaints of

       a sexual nature related to Defendant Nassar’s purported “treatments” with young girls and

       women.

358.   The MSU Defendants should have known of the foreseeability of sexual abuse with respect

       to youth and collegiate sports.

359.   The MSU Defendants’ failure to properly investigate, address, and remedy complaints

       regarding Defendant Nassar’s conduct was a breach of ordinary care.

360.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs in the

       course of his employment, agency, and/or representation of the MSU Defendants was a

       breach of the duty to use ordinary care.



                                                  54
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3285 Page 55 of 98



361.   The MSU Defendants failed warn or advise current and former patients of Defendant

       Nassar, including Plaintiffs, that allegations could surface that in fact the treatments that

       the patients received was not medical treatment at all but was potentially sexual assault.

362.   The MSU Defendants failed to offer counseling services to current of former patients of

       Defendant Nassar, including Plaintiffs.

363.   As a or the direct and/or proximate result of Defendants’ conduct, actions and/or inactions,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       G. COUNT SEVEN

                               VICARIOUS LIABILITY
                   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS

364.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

365.   Vicarious liability is indirect responsibility imposed by operation of law where an

       employer is bound to keep its employees within their proper bounds and is responsible if

       it fails to do so.

366.   Vicarious liability essentially creates agency between the principal and its agent, so that

       the principal is held to have done what the agent has done.

367.   The MSU Defendants employed and/or held Defendant Nassar out to be its agent and/or

       representative from approximately 1996 to 2016.

                                                 55
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3286 Page 56 of 98



368.   Defendant MSU’s website contains hundreds of pages portraying Defendant Nassar as a

       distinguished member of Defendant MSU’s College of Osteopathic Medicine, Division of

       Sports Medicine.

369.   The MSU Defendants are vicariously liable for the actions of Defendant Nassar as

       described above that were performed during the course of his employment, representation,

       and/or agency with the MSU Defendants and while he had unfettered access to young

       female athletes on MSU’s campus and premises through its College of Osteopathic

       Medicine and Division of Sports Medicine.

370.   As a or the direct and/or proximate result of Defendant Nassar’s actions carried out in the

       course of his employment, agency, and/or representation of the MSU Defendants, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       H. COUNT EIGHT

                            EXPRESS/IMPLIED AGENCY
                     ALL PLAINTIFFS AGAINST MSU DEFENDANTS

371.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

372.   An agent is a person who is authorized by another to act on its behalf.

373.   The MSU Defendants intentionally or negligently made representations that Defendant

       Nassar was their employee, agent, and/or representative.




                                               56
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3287 Page 57 of 98



374.     On the basis of those representations, Plaintiffs reasonably believed that Defendant Nassar

         was acting as an employee, agent, and/or representative of the MSU Defendants.

375.     Plaintiffs were injured as a result of Defendant Nassar’s sexual assault, abuse, and

         molestation as described above, acts that were performed during the course of his

         employment, agency, and/or representation with the MSU Defendants and while he had

         unfettered access to young female athletes.

376.     Plaintiffs were injured because they relied on the MSU Defendants to provide employees,

         agents, and or representatives who would exercise reasonable skill and care.

377.     As a or the direct and/or proximate cause of Defendant Nassar’s negligence carried out in

         the course of his employment, agency, and/or representative of the MSU Defendants,

         Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

         physical manifestations of emotional distress, embarrassment, loss of self-esteem,

         disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

         continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

         enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

         capacity.

         I. COUNT NINE

                          NEGLIGENT SUPERVISION
       ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, STRAMPEL, KOVAN,
                              STOLLAK, and KLAGES

378.     Plaintiffs reallege and incorporate by reference the allegations contained in the previous

         paragraphs.

379.     The MSU Defendants had a duty to provide reasonable supervision of their employee,

         agent, and/or representative, Defendant Nassar, while he was in the course of his



                                                 57
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3288 Page 58 of 98



       employment, agency or representation with the MSU Defendants and while he interacted

       with young female athletes including Plaintiffs.

380.   It was reasonably foreseeable given the known sexual abuse in youth sports and gymnastics

       in particular that Defendant Nassar who had prior allegations against him had or would

       sexually abuse children, including Plaintiffs, unless properly supervised.

381.   The MSU Defendants by and through their employees, agents, managers and/or assigns,

       such as President Simon, President McPherson, Dean Strampel, Gary E. Stollak, Kathie

       Klages, or Dr. Kovan knew or reasonably should have known of Defendant Nassar’s

       conduct and/or that Defendant Nassar was an unfit employee, agent, and/or representative

       because of his sexual interest in children.

382.   The MSU Defendants breached their duty to provide reasonable supervision of Defendant

       Nassar, and permitted Defendant Nassar, who was in a position of trust and authority, to

       commit the acts against Plaintiffs.

383.   The aforementioned sexual abuse occurred while Plaintiffs and Defendant Nassar were on

       the premises of Defendant MSU, and while Defendant Nassar was acting in the course of

       his employment, agency, and/or representation of the MSU Defendants.

384.   The MSU Defendants tolerated, authorized and/or permitted a custom, policy, practice or

       procedure of insufficient supervision and failed to adequately screen, counsel, or discipline

       such individuals, with the result that Defendant Nassar was allowed to violate the rights of

       persons such as Plaintiffs with impunity.

385.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, failed warn or advise current and former patients of

       Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the



                                                58
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3289 Page 59 of 98



       treatments that the patients received was not medical treatment at all but was potentially

       sexual assault.

386.   The MSU Defendants failed to offer counseling services to current of former patients of

       Defendant Nassar, including Plaintiffs.

387.   As a or the direct and/or proximate result of the Defendants’ negligent supervision,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       J. COUNT TEN

                     NEGLIGENT FAILURE TO WARN OR PROTECT
                   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS

388.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

389.   The MSU Defendants knew or should have known that Defendant Nassar posed a risk of

       harm to Plaintiffs or those in Plaintiffs’ situation.

390.   As early as 1997, the MSU Defendants had direct and/or constructive knowledge as to the

       dangerous conduct of Defendant Nassar and failed to act reasonably and responsibly in

       response.

391.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, knew or should have known Defendant Nassar




                                                  59
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3290 Page 60 of 98



       committed sexual assault, abuse, and molestation and/or was continuing to engage in such

       conduct.

392.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, had a duty to warn or protect Plaintiffs and others

       in Plaintiffs’ situation against the risk of injury by Defendant Nassar.

393.   The duty to disclose this information arose by the special, trusting, confidential, and

       fiduciary relationship between Defendant Nassar as an employee, agent, and or

       representative of the MSU Defendants and Plaintiffs.

394.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, breached said duty by failing to warn Plaintiffs

       and/or by failing to take reasonable steps to protect Plaintiffs from Defendant Nassar.

395.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, breached their duties to protect Plaintiffs by failing

       to:

               a. respond to allegations of sexual assault, abuse, and molestation;

               b. detect and/or uncover evidence of sexual assault, abuse, and molestation; and,

               c. investigate, adjudicate, and terminate Defendant Nassar’s employment with

                       Defendant MSU prior to 2016.

396.   The MSU Defendants failed to adequately screen, counsel and/or discipline Defendant

       Nassar for physical and/or mental conditions that might have rendered him unfit to

       discharge the duties and responsibilities of a physician at an educational institution,

       resulting in violations of Plaintiffs’ rights.




                                                  60
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3291 Page 61 of 98



397.     The MSU Defendants and their individual employees or agents, namely Defendants

         Strampel, Kovan, Stollak, and Klages, willfully refused to notify, give adequate warning,

         and implement appropriate safeguards to protect Plaintiffs from Defendant Nassar’s

         conduct.

398.     The MSU Defendants and their individual employees or agents, namely Defendants

         Strampel, Kovan, Stollak, and Klages, failed warn or advise current and former patients of

         Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the

         treatments that the patients received was not medical treatment at all but was potentially

         sexual assault.

399.     As a or the direct and/or proximate result of the Defendants’ negligent failure to warn or

         protect, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

         distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

         disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

         continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

         enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

         capacity.

         K. COUNT ELEVEN

                  NEGLIGENT FAILURE TO TRAIN OR EDUCATE
       ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, STRAMPEL, KOVAN,
                              STOLLAK, and KLAGES

400.     Plaintiffs reallege and incorporate by reference the allegations contained in the previous

         paragraphs.

401.     The MSU Defendants and their individual employees or agents, namely Defendants

         Strampel, Kovan, Stollak, and Klages, breached their duty to take reasonable protective



                                                 61
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3292 Page 62 of 98



       measures to protect Plaintiffs and other minors from the risk of childhood sexual abuse

       and/or sexual assault by Defendant Nassar, such as the failure to properly train or educate

       Plaintiffs and other individuals (including minors) about how to avoid such a risk.

402.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, failed to implement reasonable safeguards to:

              a. Prevent acts of sexual assault, abuse, and molestation by Defendant Nassar;

              b. Avoid placing Defendant Nassar in positions where he would be in unsupervised

                       contact and interaction with Plaintiffs and other young athletes.

403.   As a or the direct and/or proximate result of the Defendants’ negligent failure to train or

       educate, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       L. COUNT TWELVE

                              NEGLIGENT RETENTION
                   ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS

404.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

405.   The MSU Defendants had a duty when credentialing, hiring, retaining, screening,

       checking,     regulating,   monitoring,   and   supervising       employees,   agents   and/or

       representatives to exercise due care, but they failed to do so.




                                                 62
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3293 Page 63 of 98



406.     The MSU Defendants were negligent in the retention of Defendant Nassar as an employee,

         agent, and/or representative in their failure to adequately investigate, report and address

         complaints about his conduct of which they knew or should have known.

407.     The MSU Defendants were negligent in the retention of Defendant Nassar as an employee,

         agent, and/or representative when after they discovered, or reasonably should have

         discovered Defendant Nassar’s conduct which reflected a propensity for sexual

         misconduct.

408.     The MSU Defendants’ failure to act in accordance with the standard of care resulted in

         Defendant Nassar gaining access to and sexually abusing and/or sexually assaulting

         Plaintiffs and an unknown number of other individuals.

409.     The aforementioned negligence in the credentialing, hiring, retaining, screening, checking,

         regulating, monitoring, and supervising of Defendant Nassar created a foreseeable risk of

         harm to Plaintiffs as well as other minors and young adults.

410.     As a or the direct and/or proximate result of the MSU Defendants’ negligent retention,

         Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

         physical manifestations of emotional distress, embarrassment, loss of self-esteem,

         disgrace, fright, grief, humiliation, and loss of enjoyment of life; were prevented and will

         continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

         enjoyment of life; have sustained and continue to sustain loss of earnings and earning

         capacity.

         M. COUNT THIRTEEN

              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
       ALL PLAINTIFFS AGAINST THE MSU DEFENDANTS, STRAMPEL, KOVAN,
                           STOLLAK, and KLAGES



                                                 63
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3294 Page 64 of 98



411.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

412.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, allowed Defendant Nassar to be in a position where

       he could sexually assault, abuse, and molest children and young adults.

413.   A reasonable person would not expect the MSU Defendants and their individual employees

       or agents, namely Defendants Strampel, Kovan, Stollak, and Klages, to tolerate or permit

       their employee or agent to carry out sexual assault, abuse, or molestation after they knew

       or should have known of complaints and claims of sexual assault and abuse occurring

       during Defendant Nassar’s “treatments.”

414.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, held Defendant Nassar in high esteem and acclaim

       which in turn encouraged Plaintiffs and others to respect and trust Defendant Nassar and

       seek out his services and to not question his methods or motives.

415.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, protected Defendant Nassar in part to bolster and

       sustain his national and international reputation in the gymnastics community.

416.   A reasonable person would not expect the MSU Defendants and their individual employees

       or agents, namely Defendants Strampel, Kovan, Stollak, and Klages, to be incapable of

       supervising Defendant Nassar and/or preventing Defendant Nassar from committing acts

       of sexual assault, abuse, and molestation.

417.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, failed warn or advise current and former patients of



                                               64
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3295 Page 65 of 98



       Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the

       treatments that the patients received was not medical treatment at all but was potentially

       sexual assault.

418.   The MSU Defendants’ conduct and the conduct of their individual employees or agents,

       namely Defendants Strampel, Kovan, Stollak, and Klages, as described above was

       intentional and/or reckless.

419.   The conduct described above constitutes extreme and outrageous conduct.

420.   As a or the direct and/or proximate result of the Defendants’ conduct, Plaintiffs suffered

       continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       N. COUNT FOURTEEN

                   FRAUD AND MISREPRESENTATION
 ALL PLAINTIFFS AGAINST MSU DEFENDANTS, STRAMPEL, KOVAN, STOLLAK,
                               and KLAGES

421.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

422.   From approximately 1996 to September 2016, the MSU Defendants and their individual

       employees or agents, namely Defendants Strampel, Kovan, Stollak, and Klages,

       represented to Plaintiffs and the public that Defendant Nassar was a competent and safe

       physician.




                                               65
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3296 Page 66 of 98



423.   By representing that Defendant Nassar was a team physician and athletic physician at

       Defendant MSU and a National Team Physician with Defendant USAG, the MSU

       Defendants and their individual employees or agents, namely Defendants Strampel, Kovan,

       Stollak, and Klages, represented to Plaintiffs and the public that Defendant Nassar was

       safe, trustworthy, of high moral and ethical repute, and that Plaintiffs and the public need

       not worry about being harmed by Defendant Nassar.

424.   The representations were false when they were made as Defendant Nassar had and was

       continuing to sexually assault, abuse, and molest Plaintiffs and an unknown number of

       other individuals.

425.   As of 1999 and 2000, the MSU Defendants and their individual employees or agents,

       namely Defendants Strampel, Kovan, Stollak, and Klages, knew their representations of

       Defendant Nassar were false as at least two individuals had complained of Defendant

       Nassar’s conduct to MSU representatives.

426.   Although MSU was informed of Defendant Nassar’s conduct they failed to investigate,

       remedy, or in any way address the complaints.

427.   The MSU Defendants and their individual employees or agents, namely Defendants

       Strampel, Kovan, Stollak, and Klages, continued to hold Defendant Nassar out as a

       competent and safe physician.

428.   Additional complaints against Defendant Nassar surfaced in 2014, however, because of

       Defendant MSU’s culture which included existence of a sexually hostile environment on

       Defendant MSU’s campus and premises and the University’s failure to address complaints

       of sexual harassment, including sexual violence in a prompt and equitable manner which

       in turn caused and may have contributed to a continuation of the sexually hostile



                                               66
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3297 Page 67 of 98



       environment, Defendant Nassar was permitted to continue employment and sexually abuse,

       assault, and molest Plaintiffs and an unknown number of other individuals.

429.   As a result of complaints made about Defendant Nassar’s conduct, the MSU Defendants

       imposed restrictions on Defendant Nassar’s practice, including but not limited to: 1) having

       another person (resident, nurse, etc.) in the room while he performed treatments; 2)

       procedures were to involve little to no skin contact; 3) procedures were to be explained in

       detail with another person in the room for both the explanation and the procedure.

430.   Between the time of the 2014 complaint and September 2016 and in spite of the above-

       described restrictions, the MSU Defendants and their individual employees or agents,

       namely Defendants Strampel, Kovan, Stollak, and Klages, continued to hold Defendant

       Nassar out as a competent and safe physician.

431.   The public in general and the Plaintiffs in particular were not made aware of the restrictions

       on Defendant Nassar’s practice.

432.   Plaintiffs relied on the assertions of the MSU Defendants and their individual employees

       or agents, namely Defendants Strampel, Kovan, Stollak, and Klages, and several Plaintiffs

       continued to seek treatment from Defendant Nassar in the wake of known concerns and

       dangers.

433.   Plaintiffs were subjected to sexual assault, abuse, and molestation as a result of the MSU

       Defendants’ and their individual employees or agents’ fraudulent misrepresentations

       regarding Defendant Nassar.

434.   As a or the direct and/or proximate result of the Defendants’ fraudulent misrepresentations,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,



                                                67
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3298 Page 68 of 98



       disgrace, fright, grief, humiliation, and loss of enjoyment of life; were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life; have sustained and continue to sustain loss of earnings and earning

       capacity.

                       VII. CLAIMS AGAINST USA GYMNASTICS

       A. COUNT FIFTEEN

                           GROSS NEGLIGENCE
                             ALL PLAINTIFFS
              AGAINST DEFENDANT USAG AND DEFENDANT NASSAR

435.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

436.   Defendant USAG owed the public and the Plaintiffs a duty to use due care to ensure their

       safety and freedom from sexual assault, abuse, and molestation while interacting with their

       employees, representatives, and/or agents.

437.   The Plaintiffs are or were members of USAG, participated in USAG sanctioned events,

       and/or were knowledgeable of USAG and considered it to be a prestigious organization.

       In some cases Plaintiffs were referred to Defendant Nassar through USAG affiliations.

438.   Defendant Nassar owed Plaintiffs a duty to use due care in his capacity as an employee,

       representative, and/or agent of Defendant USAG.

439.   By seeking medical treatment from Defendant Nassar in his capacity as an employee,

       agent, and/or representative of Defendant USAG, a special, confidential, and fiduciary

       relationship between Plaintiffs Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use due care.




                                               68
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3299 Page 69 of 98



440.   Defendant USAG’s failure to adequately supervise Defendant Nassar was so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs.

441.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs under

       the guise of rendering medical “treatment” as an employee, representative, and/or agent of

       Defendant USAG was so reckless as to demonstrate a substantial lack of concern for

       whether an injury would result to Plaintiffs.

442.   Defendant USAG’s conduct demonstrated a willful disregard for necessary precautions to

       reasonably protect Plaintiffs’ safety.

443.   Defendant USAG’s conduct as described above, demonstrated a willful disregard for

       substantial risks to Plaintiffs.

444.   Defendant USAG breached duties owed to Plaintiffs and were grossly negligent when they

       conducted themselves by actions described above, including but not limited to their failure

       to notify MSU about the reasons for Nassar’s separation from USAG and more broadly the

       issues surrounding sexual abuse in gymnastics and warning signs and reporting

       requirements. Said acts were committed with reckless disregard for Plaintiffs’ health,

       safety, Constitutional and/or statutory rights, and with a substantial lack of concern as to

       whether an injury would result.

445.   As a direct and/or proximate result of Defendant USAG’s actions and/or inactions,

       Plaintiffs suffered continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full




                                                69
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3300 Page 70 of 98



       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       B. COUNT SIXTEEN
                              NEGLIGENCE
                             ALL PLAINTIFFS
              AGAINST DEFENDANT USAG AND DEFENDANT NASSAR

446.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

447.   Defendant USAG owed the public and Plaintiffs a duty of ordinary care to ensure their

       safety and freedom from sexual assault, abuse, and molestation while being treated by their

       employees, representatives, and agents.

448.   Plaintiffs had a reasonable expectation that the USAG was recommending, employing, and

       holding out competent and ethical physicians and trainers for medical treatment who would

       carry out said treatment without sexual assault, abuse, and molestation.

449.   By seeking medical treatment from Defendant Nassar in his capacity as an employee,

       agent, and/or representative of Defendant USAG, a special, confidential, and fiduciary

       relationship between Plaintiffs and Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use ordinary care.

450.   Defendant Nassar owed Plaintiffs duty of ordinary care in carrying out medical treatment.

451.   Defendant USAG’s failure to adequately train and supervise Defendant Nassar breached

       the duty of ordinary care.

452.   Defendant USAG’s failure to properly investigate, address, and remedy complaints

       regarding Defendant Nassar’s conduct was a breach of ordinary care.




                                                 70
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3301 Page 71 of 98



453.   Defendant USAG’s failure to inform Plaintiffs and the public of the allegations and

       concerns leading to Defendant Nassar’s separation from USAG was a breach of ordinary

       care.

454.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs was

       a breach of the duty to use ordinary care.

455.   As a direct and/or proximate result of Defendants’ conduct, actions and/or inactions,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       C. COUNT SEVENTEEN

                               VICARIOUS LIABILITY
                      ALL PLAINTIFFS AGAINST DEFENDANT USAG

456.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

457.   Vicarious liability is indirect responsibility imposed by operation of law where an

       employer is bound to keep its employees within their proper bounds and is responsible if

       it fails to do so.

458.   Vicarious liability essentially creates agency between the principal and its agent, so that

       the principal is held to have done what the agent has done.




                                                71
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3302 Page 72 of 98



459.   Defendant USAG’s website contains sites portraying Defendant Nassar as the recipient of

       distinguished awards and boasts him as having been “instrumental” to the success of USA

       gymnastics.

460.   Defendant USAG employed and/or held Defendant Nassar out to be its agent and/or

       representative from approximately 1986 to 2015.

461.   Defendant USAG is vicariously liable for the actions of Defendant Nassar as described

       above that were performed during the course of his employment, representation, or agency

       with Defendant USAG and while he had unfettered access to young female athletes.

462.   As a direct and/or proximate cause of Defendant Nassar’s negligence carried out in the

       course of his employment, agency, and/or representation with Defendant USAG Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       D. COUNT EIGHTEEN

                            EXPRESS/IMPLIED AGENCY
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

463.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

464.   An agent is a person who is authorized by another to act on its behalf.

465.   Defendant USAG intentionally or negligently made representations that Defendant Nassar

       was their employee, agent, and/or representative.




                                               72
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3303 Page 73 of 98



466.   On the basis of those representations, Plaintiffs reasonably believed Defendant Nassar was

       acting as an employee, agent, and/or representation of Defendant USAG.

467.   Plaintiffs were injured as a result of Defendant Nassar’s sexual assault, abuse, and

       molestation as described above carried out through his employment, agency, and/or

       representation with Defendant USAG.

468.   Plaintiffs were injured because they relied on Defendant USAG to provide employees or

       agents who would exercise reasonable skill and care.

469.   As a direct and/or proximate cause of Defendant Nassar’s negligence carried out in the

       course of his employment, agency, and/or representation with Defendant USAG, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       E. COUNT NINETEEN

                             NEGLIGENT SUPERVISION
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

470.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

471.   Defendant USAG had a duty to provide reasonable supervision of its employee, agent,

       and/or representative, Defendant Nassar, while he was in the course of his employment,

       agency and/or representation of Defendant USAG and while he interacted with young

       female athletes including Plaintiffs.




                                               73
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3304 Page 74 of 98



472.   It was reasonably foreseeable given the known sexual abuse in youth sports and gymnastics

       in particular that Defendant Nassar who had prior allegations against him had or would

       sexually abuse children, including Plaintiffs, unless properly supervised.

473.   Defendant USAG by and through their employees, agents, managers and/or assigns such

       as Mr. Penny or Mr. Colarossi, knew or reasonably should have known of Defendant

       Nassar’s conduct and/or that Defendant Nassar was an unfit employee, agent, and/or

       representative because of his sexual interest in children and young adults.

474.   Defendant USAG breached its duty to provide reasonable supervision of Defendant Nassar,

       and its failure permitted Defendant Nassar, who was in a position of trust and authority, to

       commit the acts against Plaintiffs.

475.   The aforementioned sexual abuse occurred while Defendant Nassar was acting in the

       course of his employment, agency and/or representation of Defendant USAG.

476.   Defendant USAG tolerated, authorized and/or permitted a custom, policy, practice or

       procedure of insufficient supervision and failed to adequately screen, counsel or discipline

       Defendant Nassar, with the result that Defendant Nassar was allowed to violate the rights

       of persons such as Plaintiffs with impunity.

477.   As a direct and/or proximate result of Defendant USAG’s negligent supervision, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       F. COUNT TWENTY



                                               74
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3305 Page 75 of 98



                     NEGLIGENT FAILURE TO WARN OR PROTECT
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

478.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

479.   Given the direct or indirect knowledge of sexual abuse in youth sports and in particular

       gymnastics, it was reasonably foreseeable that sexual abuse of minors may occur if proper

       procedures were not taken by Defendant USAG.

480.   Defendant USAG knew or should have known that Defendant Nassar posed a risk of harm

       to Plaintiffs or those in Plaintiffs’ situation.

481.   Defendant USAG had direct and/or constructive knowledge as to the dangerous conduct of

       Defendant Nassar and failed to act reasonably and responsibly in response.

482.   Defendant USAG knew or should have known that Defendant Nassar previously

       committed sexual assault, abuse, and molestation and/or was continuing to engage in such

       conduct.

482.   Defendant USAG had a duty to warn or protect the public, Plaintiffs, and others in

       Plaintiffs’ situation against the risk of injury by Defendant Nassar.

484.   The duty to disclose this information arose by the special, trusting, confidential, and

       fiduciary relationship between Defendant Nassar in his capacity as employee, agent, and/or

       representative of Defendant USAG and Plaintiffs.

485.   Defendant USAG breached said duty by failing to warn the public and the Plaintiffs and/or

       by failing to take reasonable steps to protect the public and the Plaintiffs from Defendant

       Nassar.

486.   Defendant USAG breached its duties to protect Plaintiffs by failing to detect and/or

       uncover evidence of sexual abuse and sexual assault, investigate Defendant Nassar,

                                                   75
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3306 Page 76 of 98



       adjudicate and suspend and/or ban Defendant Nassar from USAG affiliation and USAG

       sanctioned events.

487.   Defendant USAG failed to adequately screen, counsel and/or discipline Defendant Nassar

       for physical and/or mental conditions that might have rendered him unfit to discharge the

       duties and responsibilities of a physician in his capacity as an employee, agent, and/or

       representative of Defendant USAG, resulting in violations of Plaintiffs’ rights.

488.   Defendant USAG willfully refused to notify, give adequate warning, and implement

       appropriate safeguards to protect Plaintiffs from Defendant Nassar’s conduct.

489.   As a direct and/or proximate result of Defendant USAG’s negligent failure to warn or

       protect, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       G. COUNT TWENTY-ONE

                     NEGLIGENT FAILURE TO TRAIN OR EDUCATE
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

490.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

491.   Defendant USAG breached its duty to take reasonable protective measures to protect the

       public and Plaintiffs from the risk of sexual abuse and/or sexual assault by Defendant

       Nassar, such as the failure to properly train or educate Plaintiffs and other individuals

       (including minors) about how to avoid such a risk.

                                               76
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3307 Page 77 of 98



492.   Defendant USAG failed to implement reasonable safeguards to:

              a. Prevent acts of sexual assault, abuse, and molestation by Defendant Nassar;

              b. Avoid placing Defendant Nassar in positions where he would be in unsupervised

                      contact and interaction with Plaintiffs and other young athletes.

493.   As a direct and/or proximate result of Defendant USAG’s negligent failure to train or

       educate, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       H. COUNT TWENTY-TWO

                              NEGLIGENT RETENTION
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

494.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

495.   Defendant USAG had a duty when credentialing, hiring, retaining, screening, checking,

       regulating, monitoring, and supervising employees, agents and/or representatives to

       exercise due care, but they failed to do so.

496.   Defendant USAG was negligent in the retention of Defendant Nassar as an employee,

       agent, and/or representative in their failure to adequately investigate, report, and address

       complaints about his conduct of which they knew or should have known.




                                                77
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3308 Page 78 of 98



497.   Defendant USAG was negligent in the retention of Defendant Nassar when after they

       discovered, or reasonably should have discovered Defendant Nassar’s conduct which

       reflected a propensity for sexual misconduct.

498.   Defendant USAG’s failure to act in accordance with the standard of care resulted in

       Defendant Nassar gaining access to and sexually abusing and/or sexually assaulting

       Plaintiffs as well as an unknown number of other individuals.

499.   The aforementioned negligence in the credentialing, hiring, retaining, screening, checking,

       regulating, monitoring, and supervising of Defendant Nassar created a foreseeable risk of

       harm to Plaintiffs as well as other minors and young adults.

500.   As a direct and/or proximate result of Defendant USAG’s negligent retention, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       I. COUNT TWENTY-THREE

               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                  ALL PLAINTIFFS AGAINST DEFENDANT USAG

501.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

502.   Defendant USAG allowed Defendant Nassar to be in a position where he could sexually

       assault, abuse, and molest children and young adults.

503.   A reasonable person would not expect Defendant USAG to tolerate or permit their

       employee, agent, or representative to carry out sexual assault, abuse, or molestation.

                                               78
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3309 Page 79 of 98



504.   Defendants USAG held Defendant Nassar in high esteem and acclaim which in turn

       encouraged Plaintiffs and others to respect and trust Defendant Nassar and seek out his

       services and to not question his methods or motives.

505.   Defendants USAG protected Defendant Nassar in part to bolster his national and

       international reputation in the gymnastics community.

506.   A reasonable person would not expect Defendant USAG to be incapable of supervising

       Defendant Nassar and/or preventing Defendant Nassar from committing acts of sexual

       assault, abuse and molestation.

507.   Defendant USAG’s conduct as described above was intentional and/or reckless.

508.   As a direct and/or proximate result of Defendant USAG’s intentional infliction of

       emotional distress, Plaintiffs suffered and continue to suffer pain of mind and body, shock,

       emotional distress, physical manifestations of emotional distress, embarrassment, loss of

       self-esteem, disgrace, fright, grief, humiliation, and loss of enjoyment of life, were

       prevented and will continue to be prevented from performing Plaintiffs’ daily activities and

       obtaining the full enjoyment of life, and have sustained and continue to sustain loss of

       earnings and earning capacity.

       J. COUNT TWENTY-FOUR

                          FRAUD AND MISREPRESENTATION
                     ALL PLAINTIFFS AGAINST DEFENDANT USAG

509.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

510.   From approximately 1996 to summer 2015, Defendant USAG represented to Plaintiffs and

       the public that Defendant Nassar was a competent, ethical, and safe physician.




                                               79
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3310 Page 80 of 98



511.   By representing that Defendant Nassar was a team physician and athletic physician at

       Defendant MSU and a National Team Physician with Defendant USAG, Defendant USAG

       represented to Plaintiffs and the public that Defendant Nassar was safe, trustworthy, of

       high moral and ethical repute, and that Plaintiffs and the public need not worry about being

       harmed by Defendant Nassar.

512.   The representations were false when they were made as Defendant Nassar had and was

       continuing to sexually assault, abuse, and molest Plaintiffs and an unknown number of

       other individuals.

513.   Additionally, complaints were made to Defendant USAG, yet Defendant USAG did not

       contact Plaintiffs, the MSU Defendants, or any other clubs, or organizations affiliated with

       Defendant Nassar to inform them of the allegations and potential harm to Plaintiffs and

       others.

514.   Plaintiffs relied on the assertions of Defendant USAG and several Plaintiffs continued to

       seek treatment of Defendant Nassar in the wake of known concerns and dangers.

515.   Plaintiffs were subjected to sexual assault, abuse, and molestation as a result of Defendant

       USAG’s fraudulent misrepresentations regarding Defendant Nassar.

516.   As a direct and/or proximate result of Defendant USAG’s fraud and misrepresentation,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.



                                               80
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3311 Page 81 of 98



                           VIII. CLAIMS AGAINST TWISTARS

       A. COUNT TWENTY-FIVE

                         GROSS NEGLIGENCE
  ALL PLAINTIFFS AGAINST DEFENDANTS TWISTARS, NASSAR, and GEDDERT

517.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

518.   Defendant Twistars and Defendant Geddert owed the public and the Plaintiffs a duty to use

       due care to ensure their safety and freedom from sexual assault, abuse, and molestation

       while interacting with their employees, representatives, and/or agents.

519.   Defendant Nassar owed Plaintiffs a duty to use due care as an employee, representative,

       and/or agent of Defendant Twistars.

520.   By seeking medical treatment from Defendant Nassar in his capacity as an employee,

       agent, and/or representative of Defendant Twistars, a special, confidential, and fiduciary

       relationship between Plaintiffs Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use due care.

521.   Given known sexual abuse which has taken place in youth sports including gymnastics and

       the reasonable foreseeability that harm may occur to athletes, Defendant Twistars and

       Defendant Geddert not only referred athletes to Defendant Nassar but also failed to

       adequately supervise Defendant Nassar. Defendants’ actions were so reckless as to

       demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs.

522.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs in the

       course of his employment, agency, and/or representation of Defendant Twistars and under

       the guise of rendering medical “treatment” as an employee, representative, and/or agent of




                                               81
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3312 Page 82 of 98



       Defendant Twistars was so reckless as to demonstrate a substantial lack of concern for

       whether an injury would result to Plaintiffs.

523.   Defendant Twistars’ conduct and the conduct of Defendant Geddert demonstrated a willful

       disregard for precautions to ensure Plaintiffs’ safety.

524.   Defendant Twistars’ conduct and the conduct of Defendant Geddert as described above,

       demonstrated a willful disregard for substantial risks to Plaintiffs.

525.   Defendant Twistars and Defendant Geddert breached duties owed to Plaintiffs and were

       grossly negligent when they conducted themselves by actions described above, said acts

       having been committed with reckless disregard for Plaintiffs’ health, safety, Constitutional

       and/or statutory rights, and with a substantial lack of concern as to whether an injury would

       result.

526.   As a direct and/or proximate result of Defendants’ gross negligence, Plaintiffs suffered and

       continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       B. COUNT TWENTY-SIX

                             NEGLIGENCE
                            ALL PLAINTIFFS
            AGAINST DEFENDANTS TWISTARS, NASSAR, and GEDDERT

527.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.




                                                 82
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3313 Page 83 of 98



528.   In or around 1998, a parent of a gymnast at Defendant Twistars’ facility complained to

       Defendant Geddert, the owner and operator of Defendant Twistars, regarding Dr. Nassar’s

       conduct alleging sexual abuse, assault, and molestation.

529.   Despite being informed of Defendant Nassar’s conduct, Defendant Geddert recommended

       Defendant Nassar as a physician to members and guests of Defendant Twistars.

530.   Defendant Geddert owed Plaintiffs a duty of ordinary care to ensure their safety and

       freedom from sexual assault, abuse, and molestation.

531.   In recommending Defendant Nassar with knowledge of Defendant Nassar’s conduct,

       Defendant Geddert breached the duty of ordinary care to Plaintiffs and the public.

532.   Defendant Twistars breached the duty of ordinary care to Plaintiffs and the public in failing

       to investigate the 1998 allegations which were made to Defendant Geddert.

533.   Defendant Twistars and Defendant Geddert breached the duty of ordinary care to Plaintiffs

       and the public by failing to report the 1998 allegations, which were made to Defendant

       Geddert, to law enforcement.

534.   Plaintiffs, as members the public, in taking the recommendation of Defendant Geddert to

       seek medical treatment from Defendant Nassar had a reasonable expectation that

       Defendant Nassar would carry out medical treatment without subjecting them to sexual

       assault, abuse, or molestation.

535.   By seeking medical treatment from Defendant Nassar, a special, confidential, and fiduciary

       relationship between Plaintiffs and Defendant Nassar was created, resulting in Defendant

       Nassar owing Plaintiffs a duty to use ordinary care.

536.   Defendant Nassar owed Plaintiffs a duty of ordinary care in carrying out medical treatment

       at Defendant Twistars’ facilities.



                                                83
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3314 Page 84 of 98



537.   Defendant Twistars’ failure to adequately train and supervise Defendant Nassar while he

       was at their facility breached the duty of ordinary care.

538.   Defendant Nassar’s conduct at Defendant Twistars’ facility, in sexually assaulting,

       abusing, and molesting Plaintiffs in the course of and under the guise of rendering medical

       “treatment” was a breach of the duty to use ordinary care.

539.   As a direct and/or proximate result of Defendants’ negligence, Plaintiffs suffered and

       continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       C. COUNT TWENTY-SEVEN

                       EXPRESS/IMPLIED AGENCY
       ALL PLAINTIFFS AGAINST DEFENDANTS TWISTARS and GEDDERT

540.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

541.   An agent is a person who is authorized by another to act on its behalf.

542.   Defendant Twistars intentionally or negligently made representations that Defendant

       Nassar was their employee, agent, and/or representative.

543.   On the basis of those representations, Plaintiffs reasonably believed that Defendant Nassar

       was acting as an employee, agent, and/or representative of Defendant Twistars.

544.   Plaintiffs were injured as a result of Defendant Nassar’s sexual assault, abuse, and

       molestation as described above.




                                                84
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3315 Page 85 of 98



545.   Plaintiffs were injured because they relied on Defendant Twistars to provide employees,

       agents, and/or representatives who would exercise reasonable skill or care.

546.   As a direct and/or proximate result of Defendant Twistars’ negligent failure to train or

       educate, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       D. COUNT TWENTY-EIGHT

                        NEGLIGENT SUPERVISION
       ALL PLAINTIFFS AGAINST DEFENDANTS TWISTARS and GEDDERT

547.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

548.   Defendant Twistars and Defendant Geddert each had a duty to provide reasonable

       supervision of its employee, agent, and/or representative, Defendant Nassar, while he was

       in the course of his employment, agency, or representation of Defendant Twistars when he

       interacted with young female athletes including Plaintiffs.

549.   It was reasonably foreseeable given the known sexual abuse in youth sports and gymnastics

       in particular that Defendant Nassar who had prior allegations against him had or would

       sexually abuse children and young women, including Plaintiffs, unless properly

       supervised.

550.   Defendant Twistars by and through their employees, agents, managers, and/or assigns, and

       in particular by Defendant Geddert, knew or reasonably should have known of Defendant

                                               85
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3316 Page 86 of 98



       Nassar’s conduct and/or that Defendant Nassar was an unfit employee, agent, and/or

       representative because of his sexual interest in children and young adults and due to the

       1998 complaint made to Defendant Geddert of the nonconsensual sexual touching during

       “treatment.”

551.   Defendant Twistars and Defendant Geddert breached their duty to provide reasonable

       supervision of Defendant Nassar, and permitted Defendant Nassar, who was in a position

       of trust and authority, to commit the acts against Plaintiffs.

552.   The aforementioned sexual abuse occurred while Plaintiffs and Defendant Nassar were on

       the premises of Defendant Twistars, and while Defendant Nassar was acting in the course

       of his employment, agency, or representation of Defendant Twistars.

553.   Defendant Twistars and Defendant Geddert tolerated, authorized and/or permitted a

       custom, policy, practice or procedure of insufficient supervision and failed to adequately

       screen, counsel, or discipline such individuals, with the result that Defendant Nassar was

       allowed to violate the rights of persons such as Plaintiffs with impunity.

554.   As a direct and/or proximate result of Defendants’ negligent failure to supervise, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

       E. COUNT TWENTY-NINE

               NEGLIGENT FAILURE TO WARN OR PROTECT
       ALL PLAINTIFFS AGAINST DEFENDANTS TWISTARS and GEDDERT




                                                 86
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3317 Page 87 of 98



555.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

556.   Defendant Twistars and Defendant Geddert knew or should have known that Defendant

       Nassar posed a risk of harm to Plaintiffs or those in Plaintiffs’ situation.

557.   As    early   as   1998,    Defendant      Twistars,   by   a    complaint     made   to   its

       owner/employee/agent/representative Defendant John Geddert, had direct and/or

       constructive knowledge as to the dangerous conduct of Defendant Nassar and failed to act

       reasonably and responsibly in response.

558.   Defendant Twistars and Defendant Geddert knew or should have known that Defendant

       Nassar committed sexual assault, abuse, and molestation and/or was continuing to engage

       in such conduct.

559.   Defendant Twistars and Defendant Geddert had a duty to warn or protect Plaintiffs and

       others in Plaintiffs’ situation against the risk of injury by Defendant Nassar.

560.   The duty to disclose this information arose by the special, trusting, confidential, and

       fiduciary relationship between Defendant Nassar, an agent/representative/employee of

       Defendant Twistars and Plaintiffs.

561.   Defendant Twistars and Defendant Geddert breached said duty by failing to warn Plaintiffs

       and/or by failing to take reasonable steps to protect Plaintiffs from Defendant Nassar.

562.   Defendant Twistars and Defendant Geddert breached its duties to protect Plaintiffs by

       failing to detect and/or uncover evidence of sexual abuse and sexual assault, which was

       taking place on its premises and at its facility.




                                                 87
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3318 Page 88 of 98



563.   Defendant Twistars and Defendant Geddert breached its duties to protect Plaintiffs by

       failing to investigate Defendant Nassar, adjudicate and suspend and/or ban Defendant

       Nassar from Twistars sanctioned events.

564.   Defendant Twistars and Defendant Geddert failed to adequately screen, counsel, and/or

       discipline Defendant Nassar for physical and/or mental conditions that might have rendered

       him unfit to discharge the duties and responsibilities of a physician with their organization,

       resulting in violations of Plaintiffs’ rights.

565.   Defendant Twistars and Defendant Geddert willfully refused to notify, give adequate

       warning, and implement appropriate safeguards to protect Plaintiffs from Defendant

       Nassar’s conduct.

566.   As a direct and/or proximate result of Defendants’ negligent failure to warn or protect,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       F. COUNT THIRTY

            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
       ALL PLAINTIFFS AGAINST DEFENDANTS TWISTARS and GEDDERT

567.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.




                                                  88
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3319 Page 89 of 98



568.   Defendant Twistars and Defendant Geddert allowed Defendant Nassar to be in a position

       where he could sexually assault, abuse, and molest children and young adults at its facility

       and other places.

569.   A reasonable person would not expect Defendant Twistars and Defendant Geddert to

       tolerate or permit their employee, agent, or representative to carry out sexual assault, abuse,

       or molestation.

570.   Defendant Twistars and Defendant Geddert held Defendant Nassar in high esteem and

       acclaim which in turn encouraged Plaintiffs and others to respect and trust Defendant

       Nassar, seek his services, and to not question his methods or motives.

571.   Defendant Twistars and Defendant Geddert protected Defendant Nassar in part to bolster

       and sustain his national and international reputation in the gymnastics community, and

       Twistars’ reputation in the gymnastics community.

572.   A reasonable person would not expect Defendant Twistars and Defendant Geddert to be

       incapable of supervising Defendant Nassar and/or preventing Defendant Nassar from

       committing acts of sexual assault, abuse, and molestation on their premises and at their

       facility.

573.   Defendant Twistars’ conduct and the conduct of Defendant Geddert as described above

       was intentional and/or reckless.

574.   As a direct and/or proximate result of Defendants’ intentional infliction of emotional

       distress, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full



                                                 89
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3320 Page 90 of 98



       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       G. COUNT THIRTY-ONE

                     FRAUD AND MISREPRESENTATION
        ALL PLAINTIFFS AGAINST DEFENDANT TWISTARS and GEDDERT

575.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

576.   From approximately 1996 to September 2016, Defendant Twistars and Defendant Geddert

       represented to Plaintiffs and the public that Defendant Nassar was a competent, ethical,

       and safe physician.

577.   By representing that Defendant Nassar was a team physician and athletic physician at

       Defendant MSU and a National Team Physician with Defendant USAG, Defendant

       Twistars and Defendant Geddert represented to Plaintiffs and the public that Defendant

       Nassar was safe, trustworthy, of high moral and ethical repute, and that Plaintiffs and the

       public need not worry about being harmed by Defendant Nassar.

578.   The representations were false when they were made as Defendant Nassar had and was

       continuing to sexually assault, abuse, and molest Plaintiffs and an unknown number of

       individuals, at times at Defendant Twistars’ facility.

579.   As early as 1998, Defendant Twistars and Defendant Geddert knew their representations

       of Defendant Nassar were false as Defendant Twistars and Defendant Geddert received a

       complaint of Defendant Nassar’s conduct.

580.   Between the time of the 1998 complaint and September 2016, Defendant Twistars and

       Defendant Geddert continued to hold Defendant Nassar out as a competent and safe

       physician.

                                                90
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3321 Page 91 of 98



581.   Plaintiffs relied on the assertions of Defendants Twistars and Defendant Geddert and

       several Plaintiffs continued to seek treatment of Defendant Nassar in the wake of known

       concerns and dangers.

582.   Plaintiffs were subjected to sexual assault, abuse, and molestation as a result of Defendant

       Twistars’ and Defendant Geddert’s fraudulent misrepresentations regarding Defendant

       Nassar.

583.   As a direct and/or proximate result of Defendants’ fraud and misrepresentation, Plaintiffs

       suffered and continue to suffer pain of mind and body, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright,

       grief, humiliation, and loss of enjoyment of life, were prevented and will continue to be

       prevented from performing Plaintiffs’ daily activities and obtaining the full enjoyment of

       life, and have sustained and continue to sustain loss of earnings and earning capacity.

                               IX. CLAIMS AGAINST NASSAR

       A. COUNT THIRTY-TWO

                                 ASSAULT & BATTERY
                               ALL PLAINTIFFS AGAINST
                            DEFENDANT LAWRENCE NASSAR

584.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

585.   The acts committed by Defendant Nassar against Plaintiffs described herein constitute

       assault and battery, actionable under the laws of Michigan.

586.   Defendant Nassar committed nonconsensual sexual acts which resulted in harmful or

       offensive contact with the bodies of Plaintiffs.




                                                91
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3322 Page 92 of 98



587.   Specifically, Defendant Nassar committed acts which caused injury to Plaintiffs by

       subjecting them to an imminent battery and/or intentional invasions of their rights to be

       free from offensive and harmful contact, and said conduct demonstrated that Defendant

       had a present ability to subject Plaintiffs to an immediate, intentional, offensive and

       harmful touching.

588.   Defendant Nassar assaulted and battered Plaintiffs by nonconsensual and unwanted digital

       vaginal penetration, digital anal penetration, and touching some of Plaintiffs’ breasts

       without notice or explanation of the “treatment.”

589.   Plaintiffs did not consent to the contact, which caused injury, damage, loss, and/or harm.

590.   As a direct and/or proximate result of Defendant Nassar’s negligent failure to train or

       educate, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       B. COUNT THIRTY-THREE

            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
          ALL PLAINTIFFS AGAINST DEFENDANT LAWRENCE NASSAR

591.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

592.   Defendant Nassar used his authority and position with Defendants MSU and USAG to

       sexually assault, abuse, and molest Plaintiffs, and an unknown number of other individuals,

       minors, and young adults.

                                               92
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3323 Page 93 of 98



593.   Defendant Nassar in committing acts of sexual assault, abuse, and molestation as described

       above under the guise of medical “treatment” exhibited conduct that is extreme, outrageous

       and/or reckless in nature.

594.   A reasonable person would not expect their physician to sexually assault, abuse, or molest

       them, and to do so under the guise of medical “treatment” without proper notice or

       explanation, and without giving the patient the opportunity to refuse “treatment” of that

       nature.

595.   Defendant Nassar’s conduct was intentional or reckless as he repeatedly sexually assaulted,

       abused, and molested Plaintiffs over several years, from approximately 1996 to 2016.

596.   Defendant Nassar’s conduct has caused and continues to cause Plaintiffs to suffer

       emotional and psychological distress.

597.   As a direct and/or proximate result of Defendant Nassar’s negligent failure to train or

       educate, Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional

       distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

       C. COUNT THIRTY-FOUR

                                    INVASION OF PRIVACY

598.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.




                                               93
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3324 Page 94 of 98



599.   Defendant Nassar intruded upon Plaintiffs’ seclusion or solitude by sexually assaulting,

       abusing, and molesting Plaintiffs without the consent of Plaintiffs or Plaintiffs’ parents.

600.   Plaintiffs’ genital area, breasts, and sexual activity are secret and private subject matters.

601.   Plaintiffs possessed a right to keep these subject matters private.

602.   Some of the Plaintiffs lost their virginity when Defendant Nassar sexually assaulted,

       abused, and molested them.

603.   Defendant Nassar’s method of sexually assaulting, abusing, and molesting Plaintiffs is

       objectionable to a reasonable person.

604.   As a or the direct and/or proximate result of Defendant Nassar’s outrageous conduct,

       Plaintiffs suffered discomfort and continue to suffer pain of mind and body, shock,

       emotional distress, physical manifestations of emotional distress, embarrassment, loss of

       self-esteem, disgrace, fright, grief, humiliation, and loss of enjoyment of life, were

       prevented and will continue to be prevented from performing daily activities and obtaining

       the full enjoyment of life, and have sustained and continue to sustain loss of earnings and

       earning capacity.

                            X. LOSS OF CONSORTIUM CLAIMS

       A. COUNT THIRTY-FIVE

       PLAINTIFFS JOHN BMSU DOE, JOHN DMSU DOE, JOHN HMSU DOE,
              AND JOHN IMSU DOE AGAINST ALL DEFENDANTS

605.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

606.   Plaintiffs John BMSU Doe, John DMSU Doe, John HMSU Doe, and John IMSU Doe are

       married to Jane BMSU Doe, Jane DMSU Doe, Jane HMSU Doe, and Jane IMSU Doe,

       respectively.

                                                 94
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3325 Page 95 of 98



607.   As a or the result of the above-described conduct and consequent damages sustained by

       their respective spouses, Plaintiffs John BMSU Doe, John DMSU Doe, John HMSU Doe,

       and John IMSU Doe have suffered the following damages:

              A.      An interference with the marital relationship, including marital conjugal

                      fellowship;

              B.      An interference with love, affection, and society;

              C.      An interference with the enjoyment of their spouses’ company and

                      companionship in and about the household, including the loss of

                      pleasurable enjoyment of recreational activities outside the household;

              D.      An interference with services and financial support, and Plaintiffs are

                      fearful that these losses have and will affect the household and standard of

                      living.

              E.      Severe emotional distress, mental anguish and anxiety in the past, present

                      and into the unknown future and permanently.


        XI. DAMAGES - FOR ALL AFOREMENTIONED CAUSES OF ACTION

608.   Plaintiffs reallege and incorporate by reference the allegations contained in the previous

       paragraphs.

609.   As a or the direct and/or proximate result of Defendants’ conduct, actions, or inactions,

       Plaintiffs suffered and continue to suffer pain of mind and body, shock, emotional distress,

       physical manifestations of emotional distress, embarrassment, loss of self-esteem,

       disgrace, fright, grief, humiliation, and loss of enjoyment of life, were prevented and will

       continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full




                                               95
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3326 Page 96 of 98



       enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

       capacity.

610.   The conduct, actions and/or inactions of Defendants as alleged in the above stated counts

       and causes of action constitute violations of Plaintiffs’ Constitutional and Federal rights as

       well as the common and/or statutory laws of the State of Michigan, and the United States

       District Court has jurisdiction to hear and adjudicate said claims.

611.   In whole or in part, as a result of some or all of the above actions and/or inactions of

       Defendants, Plaintiffs have and continue to suffer irreparable harm as a result of the

       violations.

612.   The amount in controversy for each Plaintiff exceeds the jurisdictional minimum of

       $75,000.00.

WHEREFORE, Plaintiffs request this Court and the finder of fact to enter a Judgment in Plaintiffs’

       favor against all named Defendants on all counts and claims as indicated above in an

       amount consistent with the proofs of trial, and seeks against Defendants all appropriate

       damages arising out of law, equity, and fact for each or all of the above counts where

       applicable and hereby requests that the trier of fact, be it judge or jury, award Plaintiffs all

       applicable damages, including but not limited to compensatory, special, exemplary and/or

       punitive damages, in whatever amount the Plaintiffs are entitled, and all other relief arising

       out of law, equity, and fact, also including but not limited to:

a)     Compensatory damages in an amount to be determined as fair and just under the

       circumstances, by the trier of fact including, but not limited to medical expenses, loss of

       earnings, mental anguish, anxiety, humiliation, and embarrassment, violation of Plaintiffs’




                                                 96
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3327 Page 97 of 98



      Constitutional, Federal, and State rights, loss of social pleasure and enjoyment, and other

      damages to be proved;

b)    Punitive and/or exemplary damages in an amount to be determined as reasonable or just by

      the trier of fact;

c)    Reasonable attorney fees, interest, and costs; and,

d)    Other declaratory, equitable, and/or injunctive relief, including, but not limited to

      implementation of institutional reform and measures of accountability to ensure the safety

      and protection of young athletes and other individuals, as appears to be reasonable and just.

                                   Respectfully Submitted,

Dated: March 2, 2017                                /s/ David S. Mittleman__________________
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Dated: March 2, 2017                                /s/ Mick S. Grewal__________________
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                                               97
Case 1:17-cv-00029-GJQ-ESC ECF No. 59 filed 03/08/17 PageID.3328 Page 98 of 98




                                       JURY DEMAND

       Plaintiffs, by and through their attorneys, ChurchWyble, PC, a division of Grewal Law,

PLLC, hereby demand a trial by jury on all claims set forth above.


Dated: March 2, 2017                                /s/ David S. Mittleman__________________
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Dated: March 2, 2017                                /s/ Mick S. Grewal__________________
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                                               98
